
596 F.Supp.2d 949 (2009)
NEGOTIATED DATA SOLUTIONS, LLC, Plaintiff/Counterclaim Defendant
v.
DELL, INC., Defendant/Counterclaimant/Third-Party Plaintiff
v.
National Semiconductor Corporation, Counterclaim Defendant/Third-Party Defendant.
Case No. 2:06-CV-528-CE.
United States District Court, E.D. Texas, Marshall Division.
January 16, 2009.
*958 Elizabeth L. Derieux, Nancy Claire Abernathy, Sidney Calvin Capshaw, III, Capshaw Derieux, LLP, Longview, TX, David S. Elkins, Squire Sanders &amp; Dempsey, Thomas F. Fitzpatrick, Goodwin Procter LLP, Palo Alto, CA, for Plaintiff.
Thomas Ray Jackson, Daniel T. Conrad, Daniel Thomas O'Brien, Jones Day, Dallas, TX, Gregory Lawrence Porter, Jones Day, Houston, TX, for Defendant.
*959 Dale Bruce Nixon, David Allen Foley, James Patrick Bradley, Sidley Austin, Dallas, TX, Gregory Scott Bishop, Goodwin Procter LLP, Menlo Park, CA, R. Terrance Rader, Rader Fishman &amp; Grauer, Bloomfield Hills, MI, for Counterclaim Defendant.

MEMORANDUM OPINION AND ORDER
CHARLES EVERINGHAM IV, United States Magistrate Judge.

I. Introduction
Negotiated Data Solutions, LLC ("N-Data") filed its complaint against Dell, Inc. ("Dell") on December 13, 2006, alleging patent infringement. Dell subsequently impleaded the original owner and developer of the patents-in-suit, National Semiconductor ("National"). N-Data accuses Dell of infringing four patentsU.S. Patent Nos. 5,361,261 ("the '261 patent"), RE38,820 ("the '820 patent"), RE39,216 ("the '216 patent"), and RE39,395 ("the '395 patent"). Each of the patents was originally developed and owned by National. Some of the National engineers then left to form Vertical Networks ("Vertical"). National initially granted Vertical an exclusive license to the patents; Vertical later exchanged the exclusive license for ownership in half of these patents. Vertical then sold the patents to its patent attorney, who is the owner of the Plaintiff, N-Data.
Three of the patents asserted are reissued patents. The '261, '395, and '216 patents share the same priority date, as well as much of the specifications and numerous figures. The '820 patent was filed approximately two years later, but still shares much of the same common language. This opinion resolves the parties' various claim construction disputes. The court will address briefly the technology at issue in the case and then turn to the merits of the claim construction issues.

II. Background of the Technology
The four patents-in-suit relate to different aspects of a data communications system with the capability of transmitting and receiving both isochronous data and nonisochronous, or Ethernet, data. Non-isochronous data is transferred from one network node to another network node via packets. A packet may be constant or variable in size. Each packet includes the data to be transferred and may also include other information, such as housekeeping and address information. Packets in a non-isochronous protocol are generally sent in a non-uniform manner, typically with random variable data rates. A drawback to the use of non-isochronous data is that collisions may often occur between packets during transmission, creating a time-delay. Non-isochronous data is, therefore, useful in applications which are not adversely affected by a delay in time, such as e-mail or web browsing.
In contrast, isochronous data is data which is often non-packetized and of indeterminate, potentially continuous duration. An isochronous data source is a device which outputs data in a continuous stream usually at a substantially constant average data rate. Isochronous data is useful in applications which are adversely affected by a delay in time, such as video conferencing or telephone calls. Because isochronous-source data is typically not packetized, it cannot be accommodated in a packet format without substantially interfering with its isochronous character, often introducing an undesirable amount of delay or jitter. See '261 Patent, Background of the Invention.
Previous to the present invention, isochronous data, such as telephone conversations and video teleconferencing, was sent *960 over ISDN, an isochronous capable service, rather than over Ethernet. The patentees thus sought to combine the aspects of isochronous data with Ethernet.

III. Discussion

A. General Principles Governing Claim Construction
"A claim in a patent provides the metes and bounds of the right which the patent confers on the patentee to exclude others from making, using or selling the protected invention." Burke, Inc. v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1340 (Fed.Cir.1999). Claim construction is an issue of law for the court to decide. Markman v. Westview Instruments, Inc., 52 F.3d 967, 970-71 (Fed.Cir.1995) (en banc), aff'd, 517 U.S. 370, 116 S.Ct. 1384, 134 L.Ed.2d 577 (1996).
To ascertain the meaning of claims, the court looks to three primary sources: the claims, the specification, and the prosecution history. Markman, 52 F.3d at 979. Under the patent law, the specification must contain a written description of the invention that enables one of ordinary skill in the art to make and use the invention. A patent's claims must be read in view of the specification, of which they are a part. Id. For claim construction purposes, the description may act as a sort of dictionary, which explains the invention and may define terms used in the claims. Id. "One purpose for examining the specification is to determine if the patentee has limited the scope of the claims." Watts v. XL Sys., Inc., 232 F.3d 877, 882 (Fed.Cir.2000).
Nonetheless, it is the function of the claims, not the specification, to set forth the limits of the patentee's claims. Otherwise, there would be no need for claims. SRI Int'l v. Matsushita Elec. Corp., 775 F.2d 1107, 1121 (Fed.Cir.1985) (en banc). The patentee is free to be his own lexicographer, but any special definition given to a word must be clearly set forth in the specification. Intellicall, Inc. v. Phonometrics, 952 F.2d 1384, 1388 (Fed. Cir.1992). And, although the specification may indicate that certain embodiments are preferred, particular embodiments appearing in the specification will not be read into the claims when the claim language is broader than the embodiments. Electro Med. Sys., S.A. v. Cooper Life Scis., Inc., 34 F.3d 1048, 1054 (Fed.Cir.1994).
This court's claim construction decision must be informed by the Federal Circuit's decision in Phillips v. AWH Corp., 415 F.3d 1303 (Fed.Cir.2005) (en banc). In Phillips, the court set forth several guideposts that courts should follow when construing claims. In particular, the court reiterated that "the claims of a patent define the invention to which the patentee is entitled the right to exclude." Id. at 1312 (emphasis added) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed.Cir.2004)). To that end, the words used in a claim are generally given their ordinary and customary meaning. Id. The ordinary and customary meaning of a claim term "is the meaning that the term would have to a person of ordinary skill in the art in question at the time of the invention, i.e., as of the effective filing date of the patent application." Id. at 1313. This principle of patent law flows naturally from the recognition that inventors are usually persons who are skilled in the field of the invention. The patent is addressed to and intended to be read by others skilled in the particular art. Id.
The primacy of claim terms notwithstanding, Phillips made clear that "the person of ordinary skill in the art is deemed to read the claim term not only in the context of the particular claim in which *961 the disputed term appears, but in the context of the entire patent, including the specification." Id. Although the claims themselves may provide guidance as to the meaning of particular terms, those terms are part of "a fully integrated written instrument." Id. at 1315 (quoting Markman, 52 F.3d at 978). Thus, the Phillips court emphasized the specification as being the primary basis for construing the claims. Id. at 1314-17. As the Supreme Court stated long ago, "in case of doubt or ambiguity it is proper in all cases to refer back to the descriptive portions of the specification to aid in solving the doubt or in ascertaining the true intent and meaning of the language employed in the claims." Bates v. Coe, 98 U.S. 31, 38, 25 L.Ed. 68 (1878). In addressing the role of the specification, the Phillips court quoted with approval its earlier observations from Renishaw PLC v. Marposs Societa' per Azioni, 158 F.3d 1243, 1250 (Fed.Cir.1998):
Ultimately, the interpretation to be given a term can only be determined and confirmed with a full understanding of what the inventors actually invented and intended to envelop with the claim. The construction that stays true to the claim language and most naturally aligns with the patent's description of the invention will be, in the end, the correct construction.
Consequently, Phillips emphasized the important role the specification plays in the claim construction process.
The prosecution history also continues to play an important role in claim interpretation. The prosecution history helps to demonstrate how the inventor and the PTO understood the patent. Phillips, 415 F.3d at 1317. Because the file history, however, "represents an ongoing negotiation between the PTO and the applicant," it may lack the clarity of the specification and thus be less useful in claim construction proceedings. Id. Nevertheless, the prosecution history is intrinsic evidence. That evidence is relevant to the determination of how the inventor understood the invention and whether the inventor limited the invention during prosecution by narrowing the scope of the claims.
Phillips rejected any claim construction approach that sacrificed the intrinsic record in favor of extrinsic evidence, such as dictionary definitions or expert testimony. The en banc court condemned the suggestion made by Tex. Digital Sys., Inc. v. Telegenix, Inc., 308 F.3d 1193 (Fed.Cir. 2002), that a court should discern the ordinary meaning of the claim terms (through dictionaries or otherwise) before resorting to the specification for certain limited purposes. Id. at 1319-24. The approach suggested by Tex. Digitalthe assignment of a limited role to the specificationwas rejected as inconsistent with decisions holding the specification to be the best guide to the meaning of a disputed term. Id. at 1320-21. According to Phillips, reliance on dictionary definitions at the expense of the specification had the effect of "focus[ing] the inquiry on the abstract meaning of words rather than on the meaning of the claim terms within the context of the patent." Id. at 1321. Phillips emphasized that the patent system is based on the proposition that the claims cover only the invented subject matter. Id. What is described in the claims flows from the statutory requirement imposed on the patentee to describe and particularly claim what he or she has invented. Id. The definitions found in dictionaries, however, often flow from the editors' objective of assembling all of the possible definitions for a word. Id. at 1321-22.
Phillips does not preclude all uses of dictionaries in claim construction proceedings. Instead, the court assigned dictionaries a role subordinate to the intrinsic *962 record. In doing so, the court emphasized that claim construction issues are not resolved by any magic formula. The court did not impose any particular sequence of steps for a court to follow when it considers disputed claim language. Id. at 1323-25. Rather, Phillips held that a court must attach the appropriate weight to the intrinsic sources offered in support of a proposed claim construction, bearing in mind the general rule that the claims measure the scope of the patent grant.
These patents include claim limitations that fall within the scope of 35 U.S.C. § 112 ¶ 6. Section 112 ¶ 6 states "[a]n element in a claim for a combination may be expressed as a means or step for performing a specified function without the recital of structure ... in support thereof, and such claim shall be construed to cover the corresponding structure ... described in the specification and equivalents thereof." 35 U.S.C. § 112 ¶ 6 (2008). The first step in construing a means-plus-function limitation is to identify the recited function. See Micro Chem., Inc. v. Great Plains Chem. Co., 194 F.3d 1250 1258 (Fed.Cir.1999). Then, the court must identify in the specification the structure corresponding to the recited function. Id. The "structure disclosed in the specification is `corresponding' structure only if the specification or prosecution history clearly links or associates that structure to the function recited in the claim." Med. Instrumentation and Diagnostics, Corp. v. Elekta AB, 344 F.3d 1205, 1210 (Fed.Cir. 2003) (citing B. Braun v. Abbott Labs., 124 F.3d 1419, 1424 (Fed.Cir.1997)).
The patentee must clearly link or associate structure with the claimed function as part of the quid pro quo for allowing the patentee to express the claim in terms of function pursuant to § 112 ¶ 6. See id. at 1211; see also, Budde v. Harley-Davidson, Inc., 250 F.3d 1369, 1377 (Fed. Cir.2001). The "price that must be paid" for use of means-plus-function claim language is the limitation of the claim to the means specified in the written description and equivalents thereof. See O.I. Corp. v. Tekmar Co., 115 F.3d 1576, 1583 (Fed.Cir. 1997). The court now turns to a discussion of the disputed claim terms.

B. Specific terms in dispute
The four patents in this case share common technical concepts. Although each patent is unique, many of the claim terms are common to all the patents. For those common terms, all three parties have agreed that the terms should be given the same construction for each patent. The court will address the terms as organized into five sectionsone section covering common terms and a section for each patent addressing unique terms.

1. Common Terminology

a. Group A1: Data Link Terms

------------------------------------------------------------------------------------------------------------------------
                                    Dell's Proposed              National's Proposed              N-Data's Proposed
     Term or Phrase                  Construction                  Construction                     Construction
------------------------------------------------------------------------------------------------------------------------
data link                      "physical data transmission   "physical data transmission     plain and ordinary meaning;
('216 patent claims 15 and     media such as one             media such as one               if the court determines
97)                            way twisted pair wires"       way twisted pair wires"         that construction is
                                                                                             needed: "data transmission
                                                                                             link"
------------------------------------------------------------------------------------------------------------------------
link                           "physical data transmission   "physical data transmission     plain and ordinary meaning;
('216 patent claims 15, 94,     media such as one            media such as one               if the court determines
15, 94, 97)                             way twisted pair wires"      way twisted pair wires"         that construction is
                                                                                             needed: "data transmission
                                                                                             link"
------------------------------------------------------------------------------------------------------------------------


*963
------------------------------------------------------------------------------------------------------------------------
communications                 "data transmission path       "physical media"                plain and ordinary meaning;
medium                         between nodes such as one                                     if the court determines
('395 patent claims 1, 3, 7,   way twisted pair wires"                                       that construction is
1, 3, 7, 14, 100, 131)                                                                "media for data
-----------------------------------------------------------------------------------------------------------------------------                                                                                      communications"
physical media          "data transmission path       "data transmission path         plain and ordinary meaning;
(also in `261 patent    between nodes such as one     between nodes such as one       if the court determines that
claim 2)                way twisted pair wires"       way twisted pair wires"         construction is needed:
-----------------------------------------------------------------------------------------------------------------------------                                                                                      "media for data transfer"
coupled                 "a direct physical            construction is not necessary   "connected directly or
(`216 patent claims     connection"                   for this term                   indirectly"
15, 88, 94, 97, 135;
`261 patent claims 1,
2; `395 patent claims
1, 100, 112, 125,
131; `820 patent
claims 1, 8, 47, 58)
-----------------------------------------------------------------------------------------------------------------------------
said media (`395        subject to Dell's proposed    "communications medium"         refers to "communications
patent claim 14;        construction of physical                                      medium" in claims 14 &amp; 15
`261, patent claims 1,  media, construction is not
2)                      necessary for this term
-----------------------------------------------------------------------------------------------------------------------------


(1) link, data link, communications medium, physical media
The issue regarding these terms is whether the definition should include the phrase "such as one way twisted pair wires."[1] Both defendants argue that each of the above terms, with the exception of Dell's proposed construction of "communications medium," require an example as a way of assisting the jury in understanding the meaning and scope of "link" and "data link." N-Data, however, asserts that the inclusion of an example unnecessarily emphasizes one portion of the preferred embodiment link. The court agrees with N-Data. The court is not willing to include a singular example when the specification provides various other examples. For example, the patent also indicates that "[t]he physical medium 46c can be any of a number of media types including twisted pair, coaxial or fiber optic cable." `261 Patent, col. 22, 11. 52-54. The court adopts N-Data's proposed construction for each of the above terms.

(2) coupled
The issue here is whether "coupled" describes a direct connection, indirect connection, or both. Dell argues that the patents use the term throughout the specification as meaning a "direct physical connection." Contrary to Dell's assertion, claims 14 and 94 of the `216 patent, read together with the specification, suggest that "coupled" can include an indirect connection.
Claims 14 and 94 state the following:
At least a first updatable switchtable in said first station for storing information indicating at least the destination of data;
a microprocessor operating according to a first clock, coupled to said updatable switchtable, said updatable switchtable operating according to a second clock asynchronously with said first clock;

*964 a register coupled to said microprocessor for receiving update data from said microprocessor during a first time period at a data rate corresponding to said first clock and coupled to said first updatable switchtable for outputting said update data to said first updatable switchtable. `216 Patent, cl. 14 (emphasis added).
Looking to the specification, claims 14 and 94 of the `216 patent appear to be shown in Figure 12. As discussed in the specification, "FIG. 12 depicts another configuration which permits the processor 138a to update the receive and transmit switch tables 140, 162 without such inefficiency." `216 Patent, col. 15, 11. 5-7. The processor is not directly connected to the switchtable. The claims, when read in light of the specification, indicate that "coupled" means more than a "direct physical connection."
As such, the court defines "coupled" to mean the following: "connected directly or indirectly."

(3) said media
The court agrees with Dell and holds that this phrase requires no construction.

b. Group A2: Endpoints on the Data Link

----------------------------------------------------------------------------------------------------------------------------------------------
    Term or Phrase                Dell's Proposed                National's Proposed               N-Data's Proposed
                                   Construction                    Construction                       Construction
----------------------------------------------------------------------------------------------------------------------------------------------
node                          "a computer connected to a       construction is not             "an electronic device, not
(`216 patent claims 83,       network"                         necessary for this term         limited to a computer"
135; `261 patent claim 13)
---------------------------------------------------------------------------------------------------------------------------------------------
station                       "node"                           construction is not             "an electronic device, not
(`216 patent claims 15, 94,                                    necessary for this term         limited to a computer"
97; `395 patent claims 1,
14, 100, 107, 109, 112,
130)
----------------------------------------------------------------------------------------------------------------------------------------------
data stations                 "computer connected to a         construction is not             "an electronic device, not
(`395 patent claims 1,        network"                         necessary for this term         limited to a computer"
100, 107, 109)                see node, station
-----------------------------------------------------------------------------------------------------------------------------------------------
network data stations         indefinite, but to the extent    subject to National's           plain and ordinary
(`395, patent claims 100,     it can be construed, it          proposed construction of        meaning in light of other
107, 109)                     should be construed as           network, construction is        construed terms "network"
                              data station above               not necessary for this term.    and "data station." If the
                                                                                               court determines that
                                                                                               construction is needed:
                                                                                               "electronic devices, not
                                                                                               limited to computers, that
                                                                                               are interconnected with
                                                                                               other electronic devices for
                                                                                               communicating with each
                                                                                               other"
------------------------------------------------------------------------------------------------------------------------------------------------
endpoint                      "a physical device at the        construction is not             plain and ordinary
(`216 patent claims 15, 97)   termination of a network         necessary for this term         meaning; if the court
                              link"                                                            determines that
                                                                                               construction is needed: "an
                                                                                               end of a data link"
------------------------------------------------------------------------------------------------------------------------------------------------
hub                           "physical device                 construction is not             plain and ordinary
(`216 patent claims 83,       containing network               necessary for this term         meaning; if the court
130, 135; `261 patent         interface circuitry that                                         determines that
claim 13)                     connects multiple nodes                                          construction is needed:
                              over data links"                                                 "circuitry providing a
                                                                                               plurality of data
                                                                                               connections"
------------------------------------------------------------------------------------------------------------------------------------------------


*965
----------------------------------------------------------------------------------------------------------------------------------------
physical layer device          "devices for transmitting       construction is not neces-       plain and ordinary mean-
('395, patent claim 131,       and receiving data over a       sary for this term               ing; if the court deter-
137)                           physical medium"                                                 mines that construction is
                                                                                               needed: "a device for
                                                                                               transmitting or receiving
                                                                                                data over a medium physi-
                                                                                                cal layer"
----------------------------------------------------------------------------------------------------------------------------------
video device                   "device transferring sub-       construction is not neces-       plain and ordinary
('395 patent claim 102)        stantially continuous           sary for this term               meaning
                              stream of data represent-
                               ing images and associated
                               sounds such as a video
                               camera or a video monitor"
----------------------------------------------------------------------------------------------------------------------------------
telephone device               "device transferring sub-       construction is not neces-       plain and ordinary mean-
('395, patent claims 100,     stantially continuous           sary for this term               ing; if the court deter-
101)                           stream of voice data such                                        mines that construction is
                               as a telephone or a fax ma-                                      needed: "a device for pro-
                               chine"                                                           viding telephone call capa-
                                                                                                bilities"
--------------------------------------------------------------------------------------------------------------------------------------
sources and sinks              construction is not neces-      construction is not neces-       source: "circuitry that
('216 patent claim 94)         sary in light of other con-     sary for this term               generates data" sink: "cir-
                               strued terms "data source"                                       cuitry that consumes data"
                               and "data sink"
--------------------------------------------------------------------------------------------------------------------------------------
data source                    "physical device that out-      construction is not neces-       plain and ordinary mean-
('216 patent claims 15, 94,     puts data"                     sary for this term               ing; if the court deter-
97; '261 patent claims 1, 2,                                                                    mines that construction is
13)                                                                                             needed: "circuitry that
                                                                                                generates data"
--------------------------------------------------------------------------------------------------------------------------------------
data sink                     "physical device that            construction is not neces-       plain and ordinary mean-
('216 patent, claims 1, 13     receives data"                  sary for this term              ing; if the court deter-
                                                                                               mines that construction is
                                                                                               needed: "circuitry that
                                                                                               consumes data"
--------------------------------------------------------------------------------------------------------------------------------------


(1) node, station, data stations, network data stations
Dell and N-Data both agree that the terms "node," "station," and "data stations" should be given the same constructions; however, they do not agree on the construction. The issues regarding the above terms are whether they are limited to a computer and, further, whether they are connected to a network. In support of its argument that "node" should not be limited to a computer, N-Data relies on Figure 2, specifically, nodes 1(42a), 2(42b), and 3(42c). N-Data argues that nodes 1, 2, and 3 do not depict a computer. Dell argues that one of ordinary skill in the art would understand that each of the nodes would require a computer. The court is not persuaded that such a limitation is warranted by the intrinsic evidence. First, in describing Ethernet module 48f, the specification states, "sources and sinks such as an emulated or virtual key pad 48f provided, for example, on a personal computer (PC) terminal." '261 Patent, col. 5, l. 67col. 6, l. 1 (emphasis added.) The use of phrases like "such as" and "for example" do not indicate a clear intention of the patentee to limit 48f to a computer. Furthermore, nothing in the specifications details a clear intention to limit the use of Ethernet module 48g to a computer. Second, node 1 is a example of a situation in which there is a strictly isochronous source and sink. '261 Patent, col. 6, ll. 1-5. *966 Node 1 depicts 48a (video camera), 48b (monitor), and the accompanying circuitry for receiving data. '261 Patent, col. 5, ll. 56-61. Node 1 does not appear to require the presence of a computer at the node.
Regarding the issue of limiting the terms to a "network," the fact that the patentee limited the term "data station" to a "network data station" in certain claims of the '395 patent establishes the presumption that "data station" should not contain such a limitation. Alternatively, Dell argues that every reference to "node," "station," or "data station" is in the context of a network. Reading the specification as a whole, the patentee describes nodes and data stations on networks. The court therefore agrees with Dell's importation of the "network" limitation. To one of ordinary skill in the art, given the context of the claims and specifications, each of the terms would necessarily suggest an electronic device on a network.
Given the parties' agreement that "node," "station," and "data station" all have the same constructions, the court defines the terms as follows: "an electronic device on a network."
"Network data stations" needs no additional construction.

(2) endpoint, hub, physical layer device
N-Data seeks to give these terms their plain and ordinary meaning. Dell seeks to limit "endpoint" and "hub" to a "network" and "physical device," and it seeks to limit "physical layer device" to a "physical medium." The term "endpoint" appears in only the '216 patent and patent application titled "Network Link Endpoint Capability Detection," incorporated into the patent by reference. '216 Patent, col. 9, ll. 7-10; '261 Patent, col. 13, ll. 17-20. For the reasons discussed above, the court adopts "network" as a part of the definition. The intrinsic record, however, does not support Dell's limitation of the terms to require "physical."
As such, the court defines "endpoint" as a "device at the termination of a network link."
"Hub" is defined to mean "circuitry that connects multiple nodes over data links."
A "physical layer device" is defined as "a device for transmitting or receiving data over a medium."

(3) video device, telephone device
These terms do not require construction.

(4) sources and sinks, data source, data sink
National asserts that the above terms need no construction. N-Data proposes a construction for "sources and sinks," but seeks to give "data source" and "data sink" their plain and ordinary meaning. Dell asserts that the term "sources and sinks" does not require construction in light of the other construed terms. The issue regarding "data source" and "data sink" is whether these terms should be limited to a "physical device" as Dell argues.
The court agrees with Dell regarding "sources and sinks." As to the other terms, the court agrees with N-Data's alternative constructions; the term "physical" does not provide clear and unambiguous guidance as to its meaning.
The term "data source" is defined as "circuitry that generates data."
*967 The term "data sink" is defined as "circuitry that consumes data."

c. Group A3: Communications System

-----------------------------------------------------------------------------------------------------------------------------
                                    Dell's Proposed                 National's Proposed            N-Data's Proposed
       Term or Phrase                Construction                       Construction                 Construction
-----------------------------------------------------------------------------------------------------------------------------
data communication             "a local area network or        "a local area network or       plain and ordinary meaning;
system                         wide area network, and in        wide area network, and in     if the court determines
('216 patent claims 15, 94,    particular a network for        particular a network for       that construction is
97)                            transferring isochronous        transferring isochronous       needed: "system for data
                               data via an asynchronous        data via an asynchronous       communications"
                               access by a processor to a      access by a processor to a
                               local switch table"             local switch table."
-------------------------------------------------------------------------------------------------------------------------------
data communication             "an interconnected set of       subject to National's proposed  plain and ordinary meaning;
network                        computers for communicating     construction of network,        if the court determines
('395 patent claims 1,14,      data with each other,           construction is not             that construction is
100)                           such as a local area network    necessary for this term.        needed: "two or more
                               or wide area"                                                   devices arranged to communicate
                                                                                               data with one another"
--------------------------------------------------------------------------------------------------------------------------------
network                        "an interconnected set of       "an Interconnected set of       "an interconnected set of
('261 patent claim 10; '395    computers for communicating     computers for communicate       devices (e.g., hubs, nodes)
patent claims 1,14,100,        with each other, such           ing with each other, such       for communicating with
107,109,112,130; '820          as a local area network or      as a local area network or      each other"
patent claims 1, 30)           wide area network"              wide area network"
--------------------------------------------------------------------------------------------------------------------------------
star-topology                 "a number of connected           subject to National's proposed  plain and ordinary meaning;
network                        nodes that include data         construction of network,        if the court determines
('261 patent claim 13; '395    sources that transmit data      construction is not             that construction is
patent claim 107)              to a central hub which then     necessary for this term         needed: "a network configuration
                               transmits the data to data                                      with a hub connected
                               sinks"                                                          to a plurality of nodes"
---------------------------------------------------------------------------------------------------------------------------------
tree topology                 "a network in which there       subject to National's proposed   plain and ordinary meaning;
network                       is exactly one path             construction of network,         if the court determines
('395 patent claim 109)       between any two nodes"          construction is not              that construction is
                                                              necessary for this term          needed: "a network configuration
                                                              with a hub connected
                                                              to a hub"
---------------------------------------------------------------------------------------------------------------------------------


(1) data communication system
This term appears in only the preambles of claims 15 and 97 of the '216 patent. N-Data argues that this term should be given its plain and ordinary meaning. Both Dell and National assert that the specification expressly defines the term. The particular section relied on by Dell and National states, "[t]he present invention relates to communications between stations in a data communication system, such as a local area network or wide area network, and in particular to a network for transferring isochronous data via an asynchronous processor to a local switch table." '216 Patent, col. 1, ll. 13-17. The court agrees with N-Data. Given the logical reading of the above sentence, it is clear that "a network for transferring isochronous data via an asynchronous processor *968 to a local switch table" refers back to the invention, not the data communications system. Furthermore, "a local area network or wide area network" is preceded by "such as." As discussed above, the court is not willing to limit a term to an exemplary embodiment absent clear language indicative of the patentee's intent to the contrary.
As such, the court defines the term as a "system for communicating data."

(2) data communication network, network
Dell and National agree and assert that these terms should be construed to require at least two computers interconnected to exchange information. N-Data argues to the contrary. Again, Dell and National point to Figure 2 of the various patents for support. As discussed above, the court is not persuaded that the network requires two or more computers.
As such, the court defines "network" as follows: "an interconnected set of devices which communicate with each other."
The court gives "data communication network" its plain and ordinary meaning in light of the other construed terms.

(3) star-topology network
N-Data and National both agree that the court should give this term its plain and ordinary meaning. N-Data also provides an alternative construction. Dell asserts that the court should construe the term in accordance with the specification. N-Data argues that Dell's definition improperly includes unnecessary configuration and activity requirements. Dell points to a specific paragraph of the specification, which states "[p]referably, the present system is implemented as a star-topology network with data sources transmitting to a central hub which, in turn, transmits the data to data sinks. A single node can act as both a source and a sink." '261 Patent, col. 4, ll. 10-16 (emphasis added). This cited passage clearly defines what the patentee intended "star-topology network" to require.
As such, the court defines "star-topology network" as follows: "network configuration with data sources transmitting to a central hub which then transmits the data to data sinks. A node can act as both a data source and a data sink."

(4) tree topology network
This term appears in only the presently asserted claims of the '395 patent. Similar to "star-topology network," the patentee defined the breadth of the term "tree topology network." The specification states, "[t]he system could also be arranged in a tree structure where one hub 44d is connected to others (44c 44f) as depicted e.g. in FIG 3B." '395 Patent, col. 3, ll. 24-26. The court is unwilling to adopt such strong limiting language asserted by Dell absent sufficient support from the specification.
The court defines "tree topology network" as follows: "a network configuration with a hub connected to other hubs in a tree-like structure."

d. Group A4: Packets

-------------------------------------------------------------------------------------------------------------------------------------
                                    Dell's Proposed                      National's Proposed                    N-Data's Proposed
     Term or Phrase                   Construction                           Construction                          Construction
-------------------------------------------------------------------------------------------------------------------------------------------
packet                         "a collection of information          "a collection of information          "a collection of information
('261 patent claim 1; '820     that is bursty in nature              that is bursty in nature              including a data field which


*969
-------------------------------------------------------------------------------------------------------------------------------------
                                   Dell's Proposed                      National's Proposed                    N-Data's Proposed
     Term or Phrase                   Construction                           Construction                          Construction
--------------------------------------------------------------------------------------------------------------------------------------
patent claims 1, 30, 34)       and is transmitted as a               and is transmitted as a               may be preceded and/or
                               whole from one node of a              whole from one node of a              followed by non-data information
                               network to another, the information   network to another, the information   such as preamble
                               including a data                      including a data                      information, housekeeping
                               field which may be preceded           field which may be preceded           information and data destination
                               and/or followed hy nondata            and/or followed by nondata            information"
                               information such as                   information such as                   packet form
                               preamble information,                 preamble information,
                               housekeeping information              housekeeping information
                               and data destination information"     and data destination information"
-------------------------------------------------------------------------------------------------------------------------------------------
packet form
('261 patent claim 1)          "a collection of information          "a collection of information          Plain and ordinary meaning
                               that is bursty in nature              that is bursty in nature              in light of other construed
                               and is transmitted as a               and is transmitted as a               term "packet"
                               whole from one node of a              whole from one node of a
                               network to another, the information   network to another, the information
                               including a data                      including a data
                               field which may be preceded           field which may be preceded
                               and/or followed by nondata            and/or followed by nondata
                               information such as                   information such as
                               preamble information,                 preamble information,
                               housekeeping information              housekeeping information
                               and data destination information"     and data destination information"
-------------------------------------------------------------------------------------------------------------------------------------------
first/second plurality         "the first of two or more 4           construction is not necessary         plain and ordinary meaning
of groups of bits             bit sequences that make up            for this term                         for "first/second plurality
('261 patent claims 1, 2)      a packet"                                                                   of DEFINE "bits" as
                                                                                                           "basic unit of information
                                                                                                           storage"
-------------------------------------------------------------------------------------------------------------------------------------------


(1) packet, packet form
All the parties agree as to the general construction of "packet." N-Data disagrees, however, with two additional limitations asserted by Dell and National. Dell and National both assert that "packet" refers to "information that is bursty in nature." They also assert that such information "is transmitted as a whole from one node of a network to another." Regarding the first issue, Dell and National point to the '261 patent for support, and N-Data points to the '820 patent for support. The '261 patent states, "[o]ne type of non-isochronous data transfer is a packet-type transfer.... As seen in FIG. 1A, because the fields provided for data 14a, 14b are not substantially continuous, the packetized scheme of FIG. 1A is not isochronous but is `bursty' in nature." '261 Patent, col. 1, ll. 37-53. Thus, according to the '261 patent, "packet" is described as being bursty in nature. In light of the agreement by the parties to define certain terms uniform across each patent, the court must also examine the '820 patent. The '820 patent states, "[s]ome types of information, such as the information in a typical telephone conversation, do not lend themselves to being accumulated over time and then being transmitted as a single large packet.... Frequent transmissions of small packets of information over the network is required. Ethernet is not well suited to this `nonbursty' type of information transfer." '820 Patent, col. 1, ll. 29-49. Here, it is clear that the '820 patent describes a "packet" as being "non-bursty." As such, the court will not limit a "packet" to being "bursty in nature."
Regarding the second issue, the agreed-to definition sufficiently defines "packet;" there is no reason to limit the term by providing a method of transmission premised solely on an extrinsic source.[2]
*970 The court thus defines "packet" as follows: "a collection of information, including a data field which may be preceded and/or followed by non-data information, such as preamble information, housekeeping information and data destination information."
The court gives "packet form" its plain and ordinary meaning in light of the above construction.

(2) first/second plurality of groups of bits
The issue regarding these phrases is whether they should be limited to "4 bit sequences." N-Data and National both urge that the court should give these phrases their plain and ordinary meaning. N-Data further asserts that, at the most, the court should define "bits." Dell argues that the patent "only discusses groups of bits in the context of transmitting 4-bit `nibbles' during time slots." Dell's Responsive Claim Construction Brief at 19; see also '261 Patent, col. 7, ll. 42-61, col. 8, l.64-col. 9, l. 5, Table I (discussing the preferred embodiment). It is improper, however, to limit the phrases to their preferred embodiment absent a clear intention of the patentee to do so. The court agrees with N-Data's proposed construction.
The court defines "bits" as "basic units of information storage."
"First/second plurality of groups of" needs no construction.

e. Group A5: Isochronous Data

-------------------------------------------------------------------------------------------------------------------------------------
                                   Dell's Proposed                      National's Proposed                    N-Data's Proposed
     Term or Phrase                   Construction                           Construction                          Construction
--------------------------------------------------------------------------------------------------------------------------------------
isochronous source             "device which outputs                 "device which outputs                 "a device which outputs in
('216 patent claims 15, 94,    isochronous data"                     isochronous Data"                     a continuous stream, usually
97)                                                                                                        at continuous stream of
                                                                                                           data representing images
                                                                                                           and associated sounds, and
                                                                                                           telephone output, which
                                                                                                           can be a substantially
                                                                                                           continuous output of voice
                                                                                                           data (either analog or
                                                                                                           digitized)"
-------------------------------------------------------------------------------------------------------------------------------------------
isochronous data source        "divice with outputs                  "device which outputs                 "a divice which outputs
('216 patent claims 15, 97;     isochronous dats"                     isochronous data"                    data in continuous
'261 patent claim 2)                                                                                       stream, usually at substantially
                                                                                                           constant average
                                                                                                           data rate. Examples include
                                                                                                           viedo cameras, which
                                                                                                           output a substantially
                                                                                                           continuous stream of data
                                                                                                           representing images and
                                                                                                           associated sounds, and
                                                                                                           telephone output, which
                                                                                                           can be a substantially continuous
                                                                                                           output of voice
                                                                                                           data (either analog or
                                                                                                           digitized)"
-------------------------------------------------------------------------------------------------------------------------------------------
non-isochronous data           "device which outputs nonisochronous  subject to National's proposed        plain and ordinary meaning
source                         data"                                 construction of nonisochronous        in light of other construed
('216 patent claims 15, 97)                                          data, construction                    terms "isochronous
                                                                     is not necessary for                  data" and "isochronous
                                                                     this term                             data source"
-------------------------------------------------------------------------------------------------------------------------------------------


*971
-------------------------------------------------------------------------------------------------------------------------------------
                                   Dell's Proposed                      National's Proposed                    N-Data's Proposed
     Term or Phrase                   Construction                           Construction                          Construction
--------------------------------------------------------------------------------------------------------------------------------------
isochronous data source        "device outputting         "device outputting                    "a device which outputs
outputting isochronous         isochronous data"          isochronous data"                     data in a continuous
data                                                                                            stream, usually at substantially
('261 patent, claim 2)                                                                                     constant average
                                                                                                           data rate. Examples include
                                                                                                                                                                                video cameras, which
                                                                                                                                                                                output a substantially
                                                                                                                                                                                continuous stream of data
                                                                                                                                                                                representing images and
                                                                                                                                                                                associated sounds, and
                                                                                                                                                                                telephone output, which
                                                                                                                                                                                can be a substantially continuous
                                                                                                                                                                                output of voice
                                                                                                                                                                                data (either analog or
                                                                                                                                                                                digitized)"
-------------------------------------------------------------------------------------------------------------------------------------------
isochronous port               "isochronous network       "isochronous network                  plain and ordinary meaning
('820, patent claims 47, 58)   port"                                 port"                                 in light of other construed
                                                                                                           terms
-------------------------------------------------------------------------------------------------------------------------------------------
isochronous network            "a port for a network                 "a port for a network                 plain and ordinary meaning
port                           denned in the IEEE 802.9              defined in the IEEE 802.9             in light of other construed
('820 patent claim 1)          specification that combines           specification that combines           terms "isochronous
                               ISDN and LAN technologies             ISDN and LAN technologies             data" and "isochronous
                               to enable networks to                 to enable networks to                 data source"
                               carry multimedia"                     carry multimedia"                     isochronous data
-------------------------------------------------------------------------------------------------------------------------------------------
isochronous data
('216 patent claims 15, 65,    "data which is nonpacketized          "data which is nonpacketized          "data in a continuous
89, 90, 95, 96, 97, 112, 136,  and of indeterminate,                 and of indeterminate,                 stream, usually at substantially
137; '261 patent claim 2,;     potentially continuous duration,      potentially continuous duration,      constant average
'395 patent claims 100, 101,   transferred in a                      transferred in a                      data rate. Examples include
102, 112, 125)                 continuous stream at a                continuous stream at a                output from video
                               substantially constant                substantially constant                cameras, which output a
                               average data rate"                    average data rate"                    substantially continuous
                                                                                                           stream of data representing
                                                                                                           images and associated
                                                                                                           sounds, and telephone output,
                                                                                                           which can be a substantially
                                                                                                           continuous output
                                                                                                           of voice data (either
                                                                                                           analog or digitized)"
-------------------------------------------------------------------------------------------------------------------------------------------
non-isochronous data           "data that is not transmitted         "data that is not transmitted         plain and ordinary meaning
('216 patent claims 65, 89,    continuously, that is                 continuously, that is                in light of other construed
90, 95, 96, 97,112,136,137;    bursty, such as data transferred      bursty, such as data transferred      terms "isochronous
'395 patent claims 100,        by packets or in a                    by packets or in a                    data"
125)                           token ring system"                    token ring system"
-------------------------------------------------------------------------------------------------------------------------------------------
isochronous                    see isochronous data                  "having a single time                 plain and ordinary meaning
('216 patent claims 15, 65,                                          period"                               in light of other construed
89, 90, 94, 95, 96, 97, 112,                                                                               terms "isochronous
136, 137; '261 patent claim                                                                                data source" and "isochronous
2; '395 patent claims 100,-                                                                                data"
101,102, 112, 125; '820
patent claim 1, 30, 34, 47,
58)
-------------------------------------------------------------------------------------------------------------------------------------------
non-isochronous                see non-isochronous data              "having more than one                 plain and ordinary meaning
('216 patent claims 15, 89,                                          time period"                          in light of other construed
90, 94, 95, 96, 97, 112, 136,                                                                              terms "isochronous
137; '395 patent claims                                                                                    data source" and "isochronous
100,125; '820 patent                                                                                       data"
claims 30, 34)
-------------------------------------------------------------------------------------------------------------------------------------------
isochronously                  "in an isochronous                    "having a single time                 plain and ordinary meaning
('216 patent claim 94)         manner"                               period"                               in light of other construed
                                                                                                           terms "isochronous
                                                                                                           data source" and "isochronous
                                                                                                           data"
-------------------------------------------------------------------------------------------------------------------------------------------
non-isochronously              "in a non-isochronous                 "having more than one                 plain and ordinary meaning
('216 patent claim 94)         manner"                               time period"                          in light of other construed
                                                                                                           terms "isochronous
-------------------------------------------------------------------------------------------------------------------------------------------


*972
----------------------------------------------------------------------------------------------------------------------------
                                Dell's Proposed                     National's Proposed                       N-Data's Proposed
      Term or Phrase               Construction                         Construction                              Construction
-------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                           data source" and "isochro
                                                                                                           nous data"
-------------------------------------------------------------------------------------------------------------------------------------------


(1) isochronous source, isochronous data source, non-isochronous data source, isochronous data source outputting isochronous data, isochronous data, non-isochronous data, isochronous, non-isochronous, isochronously, non-isochronously
In proposing constructions for the myriad of isochronous terms, the parties begin from different root terms.[3] Aside from the varying starting points, however, the fundamental dispute is whether "isochronous" excludes packetized data; indeed, the proposed constructions submitted by the parties are substantially similar after removal of the "non-packetized" limitation. Additionally, the parties agree that the term "isochronous" connotes a time-dependency limitation.
In support of their inclusion of the "non-packetized" limitation, Dell and National cite to a specific reference in the specification: "[i]n general terms, isochronous data is data which is non-packetized and of indeterminate, potentially continuous duration." Id. (emphasis added). There has been much debate, however, concerning the above-emphasized introductory phrase. The court agrees with N-Data that the introductory phrase, "in general terms," while defining the term in a broad, high-level manner, is not meant to confine the term to the constraints subsequently imposed by the remainder of the sentence, to the exclusion of all other possible variations.
Additionally, notwithstanding the use of "in general terms," the patents contain a number of examples in which isochronous data can be packetized. One key example appears in Figures 3 and 5 of the '820 patent. Figure 3 displays the schematics of an IsoEthernet network expansion card that can be used for isochronous information transfer. In Figure 3, the IsoPhy (isochronous Ethernet physical layer) separates or combines Ethernet and B channel (isochronous) data. See '261 Patent, col. 5 ll. 1-2, ll. 29-32; '261 Patent, Table III. Figure 5 illustrates an expanded view of blocks 301 and 302 of the IsoBuffer, block 209. Within block 301, there are three other components pertinent to the term at issue, two HDLC Packet Framers/Deframers and one ATM Packet Framer/Deframer. HDLC (High-level Data Link Control) is an information framing protocol used to frame information for isochronous communication over a standard digital telephone line. '820 Patent, col. 1, ll. 63-67. ATM (Asynchronous Transfer Mode) is an alternative information transferring protocol. '820 Patent, col. 2, ll. 35-37. These two protocols "packetize[] or depacketize[] information" and are "disposed in the B-channel data path between isoPhy block 206 and ISA bus 201." '820 Patent, col. 5, ll. 41-45; col. 6, ll. 29-30. Whether or not there is a "transmut[ation]," as Dell suggests, from packetized data on one side to non-packetized data on the other, the integration of such protocols within the isochronous data transfer pathway contemplates packetized isochronous data. A construction that excludes *973 an embodiment is rarely correct. See also U.S. Patent App. 07/969,916, p. 32 ll. 15-18 (parent application acknowledging that isochronous data could be transferred using a bus, such as the P1394, that transfers isochronous data via packets); '820 Patent, col. 1, ll. 38-48 (explaining that telephone conversations, an example of isochronous data, are transferred via small packets); U.S. Patent No. 4,556,970, U.S. Patent No. 4,674,082, U.S. Patent No. 4,866,704, U.S. Patent No. 5,164,938, and U.S. Patent No. 5,200,952 (prior art references cited by the patent examiner that describe packetized transfer of isochronous data).
Accordingly, the court defines "isochronous data" as follows: "data of indeterminate, potentially continuous duration."
The court defines "isochronous data source" as "a device which outputs data of indeterminate, potentially continuous duration in a continuous stream, usually at a substantially constant average data rate."
The court defines "isochronous" as "continuous, with a uniform time period."
The court defines "isochronous source" as "a device which outputs in a continuous stream."
The remaining terms are given their plain and ordinary meaning in light of the previously construed terms.

(2) isochronous port and isochronous network port
These terms are found in the '820 patent. Dell and National give both terms the same construction, limiting the terms to the IsoEthernet standard IEEE 802.9. The specification of the '820 patent fails to mention "isochronous port" and references "isochronous network port" a few times without expressly defining the term. Dell and National argue that the patents' intrinsic evidence and the terms' plain and ordinary meaning do not support a distinction between the two disputed terms. See '820 Patent, col. 3, ll. 6-8; col. 3, ll. 59-62; col. 3, l. 64-col. 4 l. 2; cl. 87. N-Data argues that Dell and National are improperly importing a limitation from the specification and, notwithstanding such importation, have also misinterpreted the specification. The court agrees with N-Data; Dell and National's construction improperly limits the terms. The specification explains that the isoENET line ("an isochronous network specified by IEEE 802.9a (herein after referred to as `isoENET'))" is represented in Figure 3 as a twisted pair of wires 205, entering block 206, the IsoPhy. Id. at col. 5, ll. 27-32. In Figure 3, the specification then shows that the "isochronous network port" is located between the IsoMux 211 and the IsoBuffer 209, a completely different point in the isochronous data path. Id. at Fig. 5. As such, Dell and National's construction is inconsistent with the specification. Additionally, the court is not persuaded that the terms should be given the same definition. Claim 1 uses the term "isochronous network port," while claim 45 uses the term "isochronous port." Id. at cls. 1, 45. Finally, the only word within these terms that is not construed elsewhere is "port;" Dell and National's construction does not clarify this term. As such, these terms are given their plain and ordinary meaning in light of previous constructions.

f. Group A6: Blending Data from Different Sources

*974
----------------------------------------------------------------------------------------------------------------------------
                                    Dell's Proposed            National's Proposed                N-Data's Proposed
     Term or Phrase                   Construction                 Construction                     Construction
----------------------------------------------------------------------------------------------------------------------------
time division                  "a bus wherein data from a     construction is not neces-     plain and ordinary mean-
multiplexed bus                data source is put onto dis-   sary for this term             ing; if the court deter-
('395 patent claim 112)        crete time intervals and in                                   mines that construction is
                               order for a destination                                       needed: "a bus containing
                               node to select the signals                                    data arranged as a repeat-
                               for receipt from a certain                                    ing series of frames or
                               time interval"                                                templates"
----------------------------------------------------------------------------------------------------------------------------
time-multiplexed data          see time-division multiplex-   construction is not neces-     plain and ordinary mean-
('216 patent claims 15, 97)    ing data                       sary for this term             ing; if the court deter-
                                                                                             mines that construction is
                                                                                             needed: "data that has
                                                                                             been processed into a re-
                                                                                             peating series of frames or
                                                                                             templates; whereby some
                                                                                             portion of bandwidth are
                                                                                             allocated for a particular
                                                                                             type of data, e.g. isochro-
                                                                                             nous data"
------------------------------------------------------------------------------------------------------------------------------------
frame                          "format for data transmis-     construction is not neces-     "a structure or template
('216 patent claim 15; '261,   sion over physical media"      sary for this term             used to provide an alloca-
patent claims 1, 2; '820,                                                                    tion of bandwidth"
claims 30, 34, 49, 50, 61;
'821, patent claim 1)
-------------------------------------------------------------------------------------------------------------------------------------
time frame                     "fixed period of time for      construction is not neces-     "a structure or template
('261 patent claim 1)          receiving a framed signal      sary for this term             used to provide an alloca-
                               on a network"                  allocation of bandwidth"
---------------------------------------------------------------------------------------------------------------------------
slots                          "predetermined equal           construction is not neces-     "a portion of a frame"
('261patent claim 1; '820      length subdivision of a        sary for this term
patent claims 30, 34)          frame"
---------------------------------------------------------------------------------------------------------------------------
time slot ('261 patent         "fixed period of time for      construction is not neces-     "a portion of a frame"
claim 1)                       receiving a slot signal on a   sary for this term
                               network"
---------------------------------------------------------------------------------------------------------------------------
isochronous slot               "data from the destination     subject to National's pro-     "a portion of a frame
('820, patent claims 30, 34)   and protocol information       posed construction of          containing isochronous
                               on the one slot of each suc-   isochronous, construction      data"
                               cessive frame that is re-      is not necessary for this
                               served for and carries         term
                               isochronous data"
---------------------------------------------------------------------------------------------------------------------------
non-isochronous slot           "data from the destination     subject to National's pro-     "a portion of a frame
('820 patent claim 34)         and protocol information       posed construction of non-     containing non-isochronous
                               of one or more slots of        isochronous, construction      data"
                               each successive frame that     is not necessary for this
                               is not reserved for isochro-   term
                               nous data"
---------------------------------------------------------------------------------------------------------------------------
multiplexer                    "circuit capable of inter-     construction is not neces-     plain and ordinary
('216 patent claim 94; '820    leaving two or more differ-    sary for this term             meaning; if the court
patent claims 47, 58)          ent types of data                                             determines that
                               from two or more inputs                                       construction is needed:
                               for a single output"                                          "circuitry for processing
                                                                                             data into a repeating series
                                                                                             of frames or templates"
---------------------------------------------------------------------------------------------------------------------------
time-division                  "data in which two or          construction is not neces-     plain and ordinary
multiplexing data              more signals are sent over     sary for this term             meaning; if the court
('216 patent claims 15, 97)    a common transmission                                         determines that
                               port by breaking the                                          construction is needed:
                               signals into portions and                                     "processing data into a
                               assigning a port                                              repeating series of frames
                               sequentially to each signal                                   or templates"
                               portion, each assign-
                               ment being for a discrete
---------------------------------------------------------------------------------------------------------------------------


*975
----------------------------------------------------------------------------------------------------------------------------
                                    Dell's Proposed            National's Proposed                N-Data's Proposed
     Term or Phrase                   Construction                 Construction                     Construction
----------------------------------------------------------------------------------------------------------------------------
                               time interval" see multi-
                               plexer
---------------------------------------------------------------------------------------------------------------------------
circuit switch                 "a circuit device capable      construction is not            plain and ordinary
multiplexer/demultiplexer      of switching [changing]        necessary for this term        meaning; if the court
('820 patent claim 1)          the physical path that data                                   determines that
                               is taking over a network                                      construction is needed:
                               and has a                                                     "circuitry for processing
                               multiplexer/demultiplexer                                     data into a repeating series
                               for multiplexing                                              of frames or templates,
                               [combining two or more                                        and/or circuitry for
                               different types of data                                       processing a repeating
                               input for transfer over the                                   series of frames or
                               network as a single output]                                   templates into data; which
                               and demultiplexing                                            may be controlled in part
                               [separating two or more                                       by output of a storage
                               different types of data                                       device"
                               inputs over a network as a
                               single output into the
                               respective types of data]
                               the same network data"
---------------------------------------------------------------------------------------------------------------------------


(1) time division multiplexed bus[4]
For this first term, N-Data and National assert that the patents offer a straightforward explanation of the term, and, as such, it needs no construction. '395 Patent, col. 3, ll. 2-6. N-Data also provides an alternative definition, should the court determine the term needs construction. Dell seeks to impose a function-of-time and purpose limitation. During the claim construction hearing, N-Data agreed with the court that the patent requires the intervals to be arranged as a function of time. In support of their own incorporation of such a limitation, N-Data pointed to their alternative proposed definition, requiring the data to be "arranged as a repeating series of frames." As explained in the hearing, N-Data's primary concern is that Dell's limitation is "of a fixed nature" that limits the term to the IsoEthernet, which has very specific discreet time frames of a fixed nature.
As a threshold matter, contrary to N-Data and National's argument, these terms should be construed. Even with contextual clues provided by the specification and explanations provided by the parties, the court believes that the average juror is going to need assistance in giving a meaning to the above terms. Further, while the court agrees with N-Data to the extent that Dell seeks to limit the term to a discrete time interval, N-Data's supposed function-of-time support is not adequate. Its alternative construction would not assist the jury in assigning a function of time to such terms. Finally, the court does not find any support for the inclusion of a purpose limitation as Dell suggests; such limitation would be extraneous and improper.
Accordingly, the court defines "time division multiplexed bus" as "a bus wherein data from a data source is put into time intervals and arranged as a repeating series of frames or templates."

(2) multiplexer, time-division multiplexing data; time-multiplexed data
N-Data and National argue that these terms should be given their *976 plain and ordinary meaning. N-Data also submits alternative definitions, should the court determine they need construction. Similar to above, the court believes that the jury would find construction of the terms assistive.
The central issue regarding these terms is whether they should be limited, as Dell suggests, to devices capable of receiving at least two inputs. N-Data argues that such limitation excludes a preferred embodiment. N-Data points to Figure 2 of the '216 patent in support of their contention. N-Data argues that a multiplexer can have one input and there is no requirement that each multiplexer have at least two inputs. Specifically, N-Data asserts that "multiplexer," as used in the patents in the context of "time division multiplexing," refers to the time placement of data in frames and not to the selection of inputs. Dell points to extrinsic sources and ordinary usage of the term for their definition of "multiplexer."
The court agrees with N-Data. Figure 2 of the '216 patent discloses two situations in which there is one input. In Node 1, the multiplexer has only one input and one output. Similarly, in the demultiplexing direction, there is one input and one output. Node 3 presents the same situation. Although N-Data's proposed definition may contradict the standard definition of multiplexer, the court must define the disputed term in light of the specification and claim language. Here, the court finds that the patentee disclosed multiplexers having only one input.
Dell proposes the same construction for "time-multiplexed data" and "time-division multiplexing data;" however, it does not provide intrinsic evidence in support of their multiple limitations.
In light of the above discussion, the court defines "multiplexer" as "circuitry for processing data from one or more inputs into a repeating series of frames or templates."
The court defines "time-multiplexed data" as "data that has been processed into a repeating series of frames or templates."
The court defines "time-division multiplexing data" as "processing data into a repeating series of frames or templates according to time intervals."

(3) frame, time frame, slot, time slot, isochronous slot, and non-isochronous slot
These terms relate to aspects of the time-division multiplexed bus. With the exception of National, the parties agree that "frames" are composed of "slots," but disagree as to whether a "slot" is fixed, predetermined, and equal. National asserts that construction is not necessary for these terms. N-Data further proposes the same definition for "frame" and "time frame," as well as "slots" and "time slot." N-Data argues that the patents expressly teach that various frame structures or templates may be used to practice the invention. See N-Data's Brief at 12 (citing '261 Patent, col. 9, l. 56-col. 10, l. 1). The '261 patent explains as follows:
The described frame structure ... provides data rates for the isochronous and non-isochronous data.... Other types of frame structures could be used in connection with other isochronous and/or non-isochronous data sources and sinks such as other types of packet-based systems, .... in which case a different frame structure or template can be used to provide an allocation of bandwidth suited for the particular purpose. *977 '261 Patent, col. 9, l. 56-col. 10, l. 1 (emphasis added).
In support of its limitations, Dell cites to a different portion of the specification, in which the patent explains the necessity of "frames" comprised of fixed, predetermined, and equal "slots."
Since only predetermined positions of the time slots in each time frame are used for each of the various types of data, it is possible to separate the packet-sourced data from the isochronous-sourced data even though the form of the two types of data, as they travel across the physical medium, appears identical. Id. at col. 4, ll. 4-9 (emphasis added).
Dell contends that in order for a time-division multiplexed system to separate isochronous data from non-isochronous data and utilize its advantageous property of separation based on timing information, the slots of the repeating frames must be fixed, predetermined, and equal. If such is not the case, the system would be required to examine the contents of the data stream, negating any advantages of a time-division multiplexed system over other systems.
The court agrees with Dell. While N-Data's citation seems to support its construction, its reading does not support the purpose of the invention as a wholethe claim language must be read in light of the patent as a whole. Dell's cited specification reference does not imply that a frame structure or template must be flexible, but merely that there can be variable frame structures or templates according to "the particular purpose," so long as each is predetermined, fixed, and equal according to "the particular purpose." Additionally, intrinsic evidence supports giving each term varying constructions. See '261 Patent, col. 2, ll. 44-55; col. 7, ll. 52-61; col. 8, l. 64-col. 9, l. 18; col. 15, l. 66-col. 16 l. 2; Table I, Figs. 10A-10B, 11.
As such, the court defines "frame" as "format for data transmission."
The court defines "time frame" as "fixed period of time for receiving a framed signal."
The court defines "slots" as "predetermined equal length subdivisions of a frame."
The court defines "time slot" as "fixed period of time for receiving a slot signal."
The court defines "isochronous slot" as "predetermined equal length subdivision of a frame containing isochronous data."
The court defines "non-isochronous slot" as "predetermined equal length subdivision of a frame containing non-isochronous data."

(4) circuit switch multiplexer/demultiplexer
National and N-Data argue that these terms do not need construction and should be given their plain and ordinary meaning. Dell's proposed construction does not enlighten the jury as to its meaning; Dell uses the terms to be defined, "circuit" and "switch," in its proposed definition. As such, the court gives these terms their plain and ordinary meaning.

g. Group A7: Allocation of Available Bandwidth

*978
------------------------------------------------------------------------------------------------------------------------------------------
                                                                  Dell's Proposed           National's Proposed         N-Data's Proposed
     Term or Phrase                   Construction                  Construction                Construction
----------------------------------------------------------------------------------------------------------------------------------------
multiplexer providing a        "the multiplexer reserves     construction is not neces-      plain and ordinary mean-
first, dedicated band-         die same fixed portion of     sary for this term              ing; if the court deter-
width                          bandwidth"                                                    mines that construction is
('216 patent claim 94)                                                                       needed: "circuitry for pro-
                                                                                             cessing data into a repeat-
                                                                                             ing series of frames or
                                                                                             templates; the circuitry
                                                                                             multiplexer allocating
                                                                                             some portion of bandwidth
                                                                                             for a particular type of
                                                                                             data, e.g. isochronous
                                                                                             data"
----------------------------------------------------------------------------------------------------------------------------------------
periodically repeating         "frame structure reoccurs       construction is not neces-    plain and ordinary mean-
frame structure, said          with a fixed frequency that     sary for this term            ing; if the court deter-
frame structure defining       reserves the same fixed                                       mines that construction is
at least a first dedicated     portion of bandwidth"                                         needed: "a repeating Fier-
bandwidth                                                                                    ies of frames or templates;
('216 patent claim 15)                                         whereby specifying some
                                                                                                                     portion of bandwidth is
                                                                                                                     allocated for a particular
                                                                                                                     type of data, e.g. isochro-
                                                                                                                     nous data"
----------------------------------------------------------------------------------------------------------------------------------------
wherein the data transfer      "the speed at which isoch-      subject to National's pro-    plain and ordinary mean-
rate for said isochronous      ronous data is transferred      posed constructions of        ing; if the court deter-
data is substantially in-      is substantially unrelated      isochronous data and non-     mines that construction is
dependent of the non-          to and unaffected by the        isochronous data, construe-   needed: "the speed at
isochronous demand on          total amount of non-isoch-      tion is not necessary for     which isochronous data is
said data system               ronous data to be trans-        this term                     transferred is substantially
('216 patent claim 15)         ferred on the network"                                        independent of the amount
                                                                                             of non-isochronous data on
                                                                                             the data communications
                                                                                             system"
----------------------------------------------------------------------------------------------------------------------------------------
bandwidth for isochro-         "the speed at which isoch-      subject to National's pro-    plain and ordinary mean-
nous data transfers is         ronous data is transferred      posed constructions of        ing in light of other con-
insensitive to a level of      is substantially unrelated      isochronous data and non-     strued terms "isochronous
non-isochronous data           to and unaffected by the        isochronous data, construe-   data" and "non-isochro-
transfers in the system        total amount of non-isoch-      tion is not necessary for     nous data" if the court de-
('216 patent claims 90, 95,    ronous data to be trans-        this term                     termines that construction
137)                           ferred on the network"                                        is needed: "the bandwidth
                                                                                             available for isochronous
                                                                                             data transfers is not sensi-
                                                                                             tive to the number of non-
                                                                                             isochronous data transfers
                                                                                             on the data communica-
                                                                                             tions system"
----------------------------------------------------------------------------------------------------------------------------------------
bandwidth for non-isoch-       "the speed at which non-        subject to National's pro-    plain and ordinary mean-
ronous data transfers is       isochronous data is trans-      posed constructions of        ing in light of other con-
insensitive to a level of      ferred is substantially un-     isochronous data and non-     strued terms "isochronous
isochronous data trans-        related to and unaffected       isochronous data, construe-   data" and "non-isochro-
fere in the system             by the total amount of          tion is not necessary for     nous data" if the court de-
('216 patent claim 95; '820    isochronous data to be          this term                     termines that construction
patent claim 96)               transferred on the net-                                       is needed: "the bandwidth
                               work"                                                         available for non-isochro-
                                                                                             nous data transfers is not
                                                                                             sensitive to the number of
                                                                                             isochronous data transfers
                                                                                             on the data communica-
                                                                                             tions system"
----------------------------------------------------------------------------------------------------------------------------------------
first bandwidth is allo-       "the same fixed portion of      subject to National's pro-    plain and ordinary mean-
cated for data from the        bandwidth is reserved for       posed construction of         ing in light of other con-
isochronous source             isochronous data" see           isochronous source, con-      strued terms "isochronous"
('216 patent claim 97)         isochronous data                struction is not necessary    if the court determines
                                                               for this term                 that construction is need-
----------------------------------------------------------------------------------------------------------------------------------------


*979
------------------------------------------------------------------------------------------------------------------------
                                                                                         "some portion of band-
                                                                                          width is allocated for isoch-
                                                                                          ronous data"
------------------------------------------------------------------------------------------------------------------------

National and N-Data argue that these phrases do not need construction and should be given their plain and ordinary meaning. Dell did not address this group of terms in either their responsive brief or claim construction presentation. In light of the previously construed terms, the court determines that construction of these terms is unnecessary.

h. Group A8: Miscellaneous Terms

-------------------------------------------------------------------------------------------------------------------------
      Term or Phrase               Dell's Proposed              National's Proposed          N-Data's Proposed
                                    Construction                  Construction                 Construction
-------------------------------------------------------------------------------------------------------------------------
status data                    "one of six status bits        construction is not neces-   plain and ordinary mean-
('395 patent claim 3)          related to status of port      sary for this term           ing; if the court deter-
                               activity, low power mode,                                   mines that construction is
                               port isochronous capacity,                                  needed: "data indicating at
                               P or physical layer portion                                 least a status of port activi-
                               interrupt, D channel inter-                                 ties, or a status of inter-
                               rupt, and/or cascade mode"                                  rupts of atleast one data
                                                                                           stations"
-------------------------------------------------------------------------------------------------------------------------
high bandwidth bus             "a bus having a bandwidth      Construction is not neces-   "a bus having a bandwidth
('395 patent claim 112)        capable of transmitting the    sary for this term           capable of transmitting the
                               collective isochronous data                                 collective isochronous data
                               streams arriving from all                                   streams arriving from all
                               nodes connected to a hub                                    nodes connected to a hub
                               on a network e.g., a time                                   e.g., a time slot inter-
                               slot interchange, TSI ring"                                 change or TSI ring,
                                                                                           FDDI-II and P1394"
-------------------------------------------------------------------------------------------------------------------------
means for generating at        Function:                      Function:                    Function:
least one predetermined        "generating at least one       "generating at least one     "generating at least one
data pattern for trans-        predetermined data pat-        predetermined data pat-      predetermined data pat-
mission onto said com-         tern for transmission onto     tern for transmission onto   tern for transmission onto
munications medium.            said communications            said communications          said communications medi-
('395 patent claim 7)          medium"                        medium"                      um"
                               Structure:                     Structure:                   Structure:
                               "processor writes a combi-     "Quiet Pattern 1 (Fig. 14,   "the corresponding struc-
                               nation of two patterns in      Element 1422a), Quiet Pat-   tures in the specification
                               two dedicated registers        tern 2 (Fig. 14, Element     include register 1422a or
                               1422a, 1422b in Fig. 14 of     1422b)"                      register 1422b in Fig. 14"
                               the '395 patent"
-------------------------------------------------------------------------------------------------------------------------
register                       "a dedicated device sepa-      construction is not neces-   plain and ordinary mean-
('216 patent claims 15, 75)    rate from memory for stor-     sary for this term           ing; if the court deter-
                               ing a specific type of data"                                mines that construction is
                                                                                           needed: "storage device"
                                                                                           "available storage"
-------------------------------------------------------------------------------------------------------------------------
holding register               "register"                     construction is not neces-   plain and ordinary mean-
('216 patent claim 15)                                        sary for this term           ing; if the court deter-
                                                                                           mines that construction is
                                                                                           needed: "storage device"
-------------------------------------------------------------------------------------------------------------------------
first-in-first-out buffer      subject to Dell's proposed     construction is not neces-   "a queue storage location
('395 patent claim 100)        construction of buffer, con-   sary for this term           that can receive and hold a
                               struction is not necessary                                  plurality of data elements
                               for this term                                               and output them in the
                                                                                           order received"
-------------------------------------------------------------------------------------------------------------------------
buffer                         "temporary storage             construction is not neces-   plain and ordinary mean-
('261 patent claims 1, 2, 10;  device"                        sary for this term           ing; if the court deter-
'395 patent claim 100; '820                                                                mines that construction is
patent claim 51, 58, 62)                                                                   needed: "temporary stor-
                                                                                           age circuitry"
-------------------------------------------------------------------------------------------------------------------------


*980
--------------------------------------------------------------------------------------------------------------------------------------
  integrated circuit (`820,    "interconnected circuit      construction is not      plain and ordinary
  patent claims 1, 8, 30)      elements disposed on a       necessary for this term  meaning
                               single substrate"
--------------------------------------------------------------------------------------------------------------------------------------
  disposed on the same         "both circuits are           construction is not      plain and ordinary
  integrated circuit           physically located on the    necessary for this term  meaning in light of other
  (`820 patent claim 30)       same single substrate"                                construed term "integrated
                                                                                     circuit"
                                                                                     if the court determines that
                                                                                     construction is needed:
                                                                                     "located on the same
                                                                                     integrated circuit"
--------------------------------------------------------------------------------------------------------------------------------------
  memory                       "holding place for data and  construction is not      plain and ordinary
  (`216 patent claims 53, 75,  instructions"                necessary for this term  meaning; if the court
  77, 94, 97, 124; `261                                                              determines that
  patent claim 10; `395                                                              construction is needed:
  patent claims 1, 14, 100;                                                          "storage circuitry having a
  `820 patent claims 8, 58)                                                          plurality of addressable
                                                                                     locations where
                                                                                     information is stored"
--------------------------------------------------------------------------------------------------------------------------------------


(1) status data
For this term, N-Data and National argue that it does not need construction. N-Data alternatively proposes a definition taken directly from claims 2 and 3 of the `395 patent. Dell intends to limit the term to one of a listing of six status bits, pointing to two citations in the specification. See `395 patent, col. 1, ll. 13-17; col. 7, ll. 7-14. The court agrees with N-Data and National; as such, construction is not necessary in light of the clear language of claims 2 and 3 of the `395 patent.

(2) high bandwidth bus
National asserts that this term does not need construction. N-Data and Dell agree on the general definition, but disagree as to the examples listed. N-Data incorporates all of the Dell examples and adds two additional onesFDDI-II and P1394. The court agrees with N-Data; if multiple examples are incorporated into a definition, it would be misleading to exclude others when there are only a few that are excluded, as in this case. N-Data references two instances in the intrinsic record in which the patent expressly provides for two additional examples. See `395 patent, col. 3, ll. 42-43; U.S. Patent App. No. 07/969,916, col. 32, ll. 15-18.
Accordingly, the court defines "high bandwidth bus" as "a bus having a bandwidth capable of transmitting the collective isochronous data streams arriving from all nodes connected to a hub, e.g., a time slot interchange, "TSI" ring, FDDI-II, and P1394."

(3) means for generating at least one predetermined data pattern for transmission onto said communications medium
All of the parties agree on the function of this means-plus-function element. They agree that the function is as follows: "generating at least one predetermined data pattern for transmission onto said communications medium." Regarding the structure, all the parties agree that any such structure at least encompasses the 1422a and/or 1422b registers. By its proposed construction, Dell seems to require both 1422a and 1422b. The specification supports N-Data's interpretation, however. See `395 patent, col. 14, ll. 28-32 ("[i]f there is no valid B-channel data destined for a physical layer port ... one of two `quiet' or `idle' patterns is sent to the port instead." (emphasis added)). With a *981 supporting reference, it is clear that the phrase "at least one" requires only one of the two registers. Dell imposes additional limitations by its inclusion of a functional step and the requirement that the registers be "dedicated." The court can find no support for such extraneous limitations.
The court adopts N-Data's proposed construction of "means for generating at least one predetermined data pattern for transmission onto said communications medium."

(4) register and holding register
N-Data and National argue that these terms do not need construction. N-Data also proposes an alternative construction. Dell's construction, however, is consistent with the specification and the ordinary meaning of "register." As such, the court adopts Dell's constructions for these terms. See `216 patent, col. 16, ll. 16-21; col. 16, ll. 28-36.

(5) buffer, first-in-first-out buffer
The dispute with regards to these terms is whether "buffer" is a device or circuitry. In light of the intrinsic evidence, the court defines "buffer" as "temporary storage circuitry."
The court gives "first-in-first-out buffer" its plain and ordinary meaning in light of the above definition.

(6) integrated circuit, disposed on the same integrated circuit, and memory
National and N-Data argue that these terms need no construction. N-Data again proposes alternative constructions, should the court define them. N-Data's primary argument suggests that, because the term "integrated circuit" appears in the preamble of certain claims, it is not a limitation on the claims and needs no interpretation. Dell argues alternatively, citing to case law and prosecution history.
As the Federal Circuit has stated, "[i]n general, a preamble limits the invention if it recites essential structure or steps, or if it is `necessary to give life, meaning, and vitality' to the claim." Catalina Mktg. Int'l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002). Furthermore, "[w]hether to treat a preamble as a limitation is a determination resolved only on review of the entire ... patent to gain an understanding of what the inventors actually invented and intended to encompass by the claim." Poly-America, L.P. v. GSE Lining Tech., Inc., 383 F.3d 1303, 1309 (Fed. Cir. 2004). The Federal Circuit, in Catalina, went on to discuss several "guideposts" a court may use in determining whether a preamble acts as a limitation. Specifically, the following facts indicate an intention for the preamble to be limiting: dependence on a preamble phrase for antecedent basis; when the preamble is essential to understanding limitations or terms; when the preamble recites additional structure; and the patentee's clear reliance on the preamble during prosecution to distinguish the claimed invention from the prior art. Catalina Mktg. Int'l, Inc., 289 F.3d at 808. Conversely, a preamble is not limiting if it simply extols benefits or features or describes the use of an invention. Id.
Here, the term appears in the preamble of claims 1 through 44, the original claims of the `820 patent. It does not, however, appear in any of the claims that were subsequently modified and reissued, for example, claim 45. In a reissue application declaration, the inventor stated, "[b]y reason of claiming only claims 1-44, which is less than the full right to claim in the *982 patent, additional claims are added, for example, see claim 45." Dell's Brief Ex. L. In its claims construction presentation, Dell highlights what it views as the key difference between claims 1 and 45: the change from "An integrated circuit" to "apparatus." As N-Data points out, however, there are other meaningful differences. First, the inventor broadens "isochronous network port" in claim 1 to "isochronous port" in claim 45. Second, the inventor broadens "a" in all of the limitations of claim 1 to "one or more" in claim 45. `820 Patent, cls. 1, 45. As discussed previously, the court gives "isochronous network port" and "isochronous port" varying constructions.
Notwithstanding N-Data's argument, the court agrees with Dell's limitation. As used in the preamble, the term "integrated circuit," "discloses a fundamental characteristic of the claimed invention that is properly construed as a limitation of the claim itself." Poly-America, L.P., 383 F.3d at 1310. The term "integrated circuit" is found throughout the specification, and the patentee uses it to describe the preferred embodiment. Furthermore, the patentee uses the term to provide structure, rather than to merely show some intended use or purpose.
Accordingly, the court adopts Dell's construction of the term "integrated circuit" and holds that its use in the preamble is limiting.
In light of the above construction, the court gives the phrase "disposed on the same integrated circuit" its plain and ordinary meaning.
The court gives "memory" its plain and ordinary meaning.

2. Specific Terminology for the `216 Patent

a. Group B1: table for controlling data transfers

-------------------------------------------------------------------------------------------------------------------------
      Term or Phrase                  Dell's Proposed           National's Proposed       N-Data's Proposed
                                       Construction                Construction              Construction
-------------------------------------------------------------------------------------------------------------------------
  updatable table              "a table of data in memory    construction is not      "a table in memory that
  (`216 patent claims 15, 53,  provided in connection        necessary for this term  outputs data for controlling
  65, 83, 97, 112, 130, 136)   with switching or routing                              data transfer of data or
                               of data or data packets and                            data packets and is capable
                               is capable of being                                    of being updated"
                               modified, i.e., updated"
-------------------------------------------------------------------------------------------------------------------------
  switch table                 "a table of data in memory    construction is not      "a table in memory that
  (`216 patent claim 94)       that outputs data for         necessary for this term  outputs data for controlling
                               controlling the switching                              the switching of data or
                               [without routing] of data or                           data packets"
                               data packets and is capable
                               of being updated"
-------------------------------------------------------------------------------------------------------------------------
  updatable switch table       "a table of data in memory   construction is not        "a table in memory that
  (`216 patent claim 94)       that outputs data for        necessary for this term   outputs data for controlling
                               controlling the switching                              the switching of data or
                               [without routing] of data or                           data packets and is
                               data packets and is capable                            capable of being updated"
                               of being updated"
-------------------------------------------------------------------------------------------------------------------------



*983 (1) updatable table
At issue in the construction of this term is the function of the table. N-Data proposes that the "updatable table" have the function of "controlling data transfer of data or data packets," while Dell proposes its function as "switching or routing of data or data packets." National asserts that construction is not necessary.
The court agrees with N-Data. The limitation of the term as argued by Dell is not warranted by the specification. The specification indicates that the updatable table, while capable of switching or routing, is also capable of other data transfer operations. See '216 Patent, Figs. 13A-13B, Table IV.
The court adopts N-Data's construction of "updatable table."

(2) switch table/updatable switch table
For the reasons discussed above, the court does not believe that the limitations suggested by Dell are warranted by the intrinsic evidence.
As such, the court adopts N-Data's construction of "switch table" and "updatable switch table."

b. Group B2: update data for updating the table

--------------------------------------------------------------------------------------------------------------------------------
Term or Phrase                Dell's Proposed              National's Proposed           N-Data's Proposed
                                Construction                    Construction                Construction
--------------------------------------------------------------------------------------------------------------------------------
update data                   "control words and data      "data sent by a               plain and ordinary
(`216 patent claims 15, 53,   words"                       microprocessor to an          meaning; if the court
54, 94, 97, 101)                                           updatable table operating     determines that
                                                           asynchronously with the       construction is needed:
                                                           microprocessor"               "data sent to update a table
                                                                                         (e.g. updatable table,
                                                                                         switch table, routing table,
                                                                                         updatable switch table) for
                                                                                         controlling data transfer in
                                                                                         a system"
--------------------------------------------------------------------------------------------------------------------------------
control word                  "16 bits indicating a        construction is not           plain and ordinary
(`216 patent claims 54,       particular updatable table   necessary for this term       meaning; if the court
101)                          address"                                                   determines that
                                                                                         construction is needed:
                                                                                         "group of bits indicating
                                                                                         control information"
--------------------------------------------------------------------------------------------------------------------------------
data word                     "16 bits containing all the  construction is not           plain and ordinary
(`216 patent claims 54,       data to be loaded into the   necessary for this term       meaning; if the court
101)                          updatable table data                                       determines that
                              locations"                                                 construction is needed:
                                                                                         "group of bits containing
                                                                                         data information"
--------------------------------------------------------------------------------------------------------------------------------
destination of data           "the data sink and station   construction is not           plain and ordinary
('216 patent claim 94)        where data is to be          necessary for this term       meaning; if the court
                              transferred"                                               determines that
                                                                                         construction is needed:
                                                                                         "destination where the data
                                                                                         is to be transferred"
--------------------------------------------------------------------------------------------------------------------------------
destination data              see destination of data      construction is not           plain and ordinary
('216 patent claims 15, 97)                                necessary for this term       meaning; if the court
                                                                                         determines that
                                                                                         construction is needed:
                                                                                         "information about the
                                                                                         destination of one or more
                                                                                         data transfers"
--------------------------------------------------------------------------------------------------------------------------------
control data for              "information relating to an  construction is not           plain and ordinary
controlling data transfers    updatable table data         necessary for this term       meaning; if the court
in the system                 transfer used to indicate                                  determines that


*984
('216 patent claim 53)        the table and the address                                  construction is needed:
                              so that data can be                                        "data output from the
                              transferred to and stored in                               updatable table to control
                              the proper tables and the                                  data transfer in the system"
                              proper locations within the
                              tables"
----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
at a data rate                "a fixed data transmission   construction is not           plain and ordinary
corresponding to said         speed based on the first     necessary for this term       meaning; if the court
first clock                   clock"                                                     determines that
('216 patent claim 15)                                                                   construction is needed:  "at
                                                                                         a data rate that is based on
                                                                                         the first clock"
--------------------------------------------------------------------------------------------------------------------------------


(1) update data
N-Data argues that this term should not be construed; instead, N-Data asserts that the claim language clearly defines the term. Similar to previous terms, N-Data proposes an alternative construction. National and Dell each assert additional, varying constructions. By each of their constructions, National and Dell seek to improperly limit the term to an embodiment.
This term does not have an ordinary meaning outside of the '216 patent. As such, the court is required to look to the intrinsic evidence for support to give meaning to the term. The court agrees with N-Data's construction. N-Data's construction is consistent with the use of the term throughout the patent. See, e.g., '216 patent, col. 17, ll. 59-67. The court defines the term as "data sent to update a table for controlling data transfer in a system."

(2) control word/data word; destination of data/destination data; control data for controlling data transfer in the system; at a data rate corresponding to said first clock
In light of the previous constructions and the incorporation of common terms, the court gives the above terms their plain and ordinary meaning. Dell's constructions each propose limiting the terms to specific embodiments within the specification. Such constructions are rarely correct, absent express language to the contrary.

c. Group B3: procedure for updating the table with the update data

-----------------------------------------------------------------------------------------------------------------------
Term or Phrase                    Dell's Proposed            National's Proposed         N-Data's Proposed
                                    Construction                Construction                Construction
-----------------------------------------------------------------------------------------------------------------------
Asynchronously               "not synchronized with the    construction is not           "running in accordance
('216 patent claims 15, 53,  specified clock"              necessary for this term       with two different clocks,
94, 97)                                                                                  e.g., a 33 MHz clock and a
                                                                                         12.5 MHz clock"
-----------------------------------------------------------------------------------------------------------------------
multi-port memory            "storage device that can      construction is not           plain and ordinary
('216 patent claims 77,      perform two or more           necessary for this term       meaning; if the court
124)                         storage operations                                          determines that
                             simultaneously"                                             construction is needed:
                                                                                         "memory with more than
                                                                                         one port to access the
                                                                                         memory"
-----------------------------------------------------------------------------------------------------------------------



*985 (1) asynchronously
In discussing the term "asynchronously," the patent states "[t]he switch table and the processor are asynchronous in the sense that they run in accordance with two different clocks." '216 Patent, col. 15, ll. 59-63. Although Dell cites to the prosecution history for support for its construction, given the clear discussion of the term in the specification, the court agrees with N-Data's original construction. This construction is in accordance with the specification and claim language.

(2) multi-port memory
The court adopts Dell's proposed construction of "multi-port memory."

3. Specific Terminology for '261 Patent

a. Group C1: predetermined/non-contiguous/contiguous

----------------------------------------------------------------------------------------------------------------------------
                                 Dell's Proposed           National's Proposed         N-Data's Proposed
    Term or Phrase                Construction                  Construction              Construction
-----------------------------------------------------------------------------------------------------------------------
contiguous                   "immediately preceding or     construction is not neces-  plain and ordinary mean-
('261 patent claim 1)        following in time or          sary for this term          ing; if the court deter-
                             sequence"                                                 mines that construction is
                                                                                       needed: "preceding or fol-
                                                                                       lowing in time or
                                                                                       sequence"
-----------------------------------------------------------------------------------------------------------------------
during a first set of pre-   "the transmission of the      construction is not neces-  plain and ordinary mean-
determined ones of said      groups of bits is such that   sary for this term          ing in light of the other
time slots, at least some    it is decided in advance                                  construed terms "predeter-
of said first set of prede-  which non-contiguous time                                 mined," "slots," "time
termined ones of said        slots are to be used to                                   slots," and "contiguous"
time slots being non-        place the first plurality of
ontiguous.                   groups of bits in order that
('261 patent claim 1)        packet sourced data is sep-
                             arated from isochronous
                             data"
-----------------------------------------------------------------------------------------------------------------------
media access controller      "device used to transmit      construction is not neces-  plain and ordinary mean-
('261 patent claims 1, 2)    and receive data over         sary for this term                     ing; if the court deter-
                             physical media"                                                      mines that construction is
                                                                                                  needed: "circuitry that
                                                                                                  outputs data in a packet
                                                                                                  form"
-----------------------------------------------------------------------------------------------------------------------
predetermined                "a determination is made      construction is not neces-  "a determination is made
('261 patent claim 2; '395   in advance of transmis-       sary for this term                in advance of transmis-
patent claim 7)              sion"                                                                sion"
------------------------------------------------------------------------------------------------------------------------------


(1) contiguous
The crux of the dispute over the construction of this term is whether "immediately" is warranted as a limitation. N-Data argues that the inclusion of "immediately" improperly limits the term and finds no support in either the claims or specification. Dell argues that, without the limitation, there would be no distinguishing characteristics between "contiguous" and "non-contiguous." Both N-Data and Dell point to Figure 11 of the '261 patent for support; indeed, the interpretation of what the patentee intended Figure 11 to represent provides the ultimate enlightenment as to the meaning of the present term.
*986 The court agrees with Dell. As discussed in the claims construction hearing, it is the court's opinion that N-Data's proposed definition does not distinguish between "contiguous" data 458 and "non-contiguous" data 456. The '261 patent states as follows:
Referring to Table I, and FIG. 11, after the output of the first 4 bits of Ethernet data 452, there will be a wait of 0.2441 sec (during which, isochronous data 454 will be output). This pattern will be repeated six times 456, after which, there will be a transmission of five nibbles of Ethernet data contiguously 458. Thereafter, there will be another wait of 0.2441 sec 460 and so forth. '261 Patent, col. 7, ll. 54-61.
As the previous passage suggests, there is a distinction between contiguous and non-contiguous data transfer, a distinction not captured in N-Data's proposed construction. Under N-Data's construction, e.g., the data transferred on 450 would be contiguous with the data that is transferred at the first part of 458, something obviously not intended by the specification.
As such, the court defines "contiguous" as "immediately preceding or following in time and sequence."

(2) during a first set of predetermined ones of said time slots, at least some of said first set of predetermined ones of said time slots being non-contiguous
N-Data and Dell agree on the construction of "predetermined," and "time slots" and "contiguous" have already been construed by the court. National asserts that construction is not necessary. In light of previous discussions, the court gives the above phrase its plain and ordinary meaning.

(3) media access controller
Claim 1 of the '261 patent states "media access controller which outputs first data in a packet form." N-Data proposes replacing "media access controller" in the above claim language with "circuitry." Dell seeks to import "transmit," "receive," and "physical media." The court finds no support for inclusion of "transmit" and "physical media"; however, the patent specification expressly discusses the ability of a media access controller to "receive" data. See '261 patent, col. 3, ll. 10-15 (stating, "[i]n another embodiment, a new media access controller can be provided which receives data ....").
As such, the court defines the term as follows: "circuitry that outputs and receives data in packet form."

4. Specific Terminology for the '395 Patent

a. Group D1: "Star" Topology with a Hub and Spokes

-----------------------------------------------------------------------------------------------------------------------
                                  Dell's Proposed              National's Proposed         N-Data's Proposed
    Term or Phrase                 Construction                    Construction              Construction
-----------------------------------------------------------------------------------------------------------------------
receive datapath               "a signal pathway for         construction is not neces-  plain and ordinary mean-
('395 patent claims 1, 14)     transferring data from the    sary for this term          ing; if the court deter-
                               physical layer interface of                               mines that construction is
                               the network into the                                      needed: "path of received
                               receive memory buffer"                                    data"
-----------------------------------------------------------------------------------------------------------------------


*987
-------------------------------------------------------------------------------------------------------------------------
                                 Dell's Proposed           National's Proposed         N-Data's Proposed
    Term or Phrase                Construction                  Construction              Construction
--------------------------------------------------------------------------------------------------------------------------
transmit datapath              "a signal pathway for         construction is not neces-  plain and ordinary mean-
('395 patent claims 1, 7,14)   transferring data from the    sary for this term          ing; if the court deter-
                               transmit memory buffer                                    mines that construction is
                               into the physical layer                                   needed: "path of transmit-
                               interface of the network"                                 ted data"
-----------------------------------------------------------------------------------------------------------------------
receive memory device          "a ping-pong buffer within    construction is not neces-  "a shared (i.e., single)
('395 patent claim 14)         a hub/switch, comprised of    sary for this term          memory that receives
                               two 1536 byte buffers, cou-                               data"
                               pled to the receive data-
                               path via a 10 bit parallel
                               isochronous data bus"
-----------------------------------------------------------------------------------------------------------------------
transmit memory device         "a ping-pong buffer within    construction is not neces-  "a shared (i.e., single)
('395 patent claim 14)          a hub/switch, comprised of   sary for this term          memory that transmits
                                two 1536 byte buffers, cou-                              data"
                                pled to the transmit data-
                                path via a 10 bit parallel
                                isochronous data bus"
-----------------------------------------------------------------------------------------------------------------------
receive memory means            subject to Dell's proposed   construction is not neces-  "a shared (i.e., single)
('395 patent claims 1, 14,      construction of receive      sary for this term          memory that receives
100)                            memory device, construction                              data"
                                is not necessary for
                                this term
-----------------------------------------------------------------------------------------------------------------------
transmit memory means           Function:                    construction is not neces-  "a shared (i.e., single)
('395 patent claim 1)           "transmitting up to 1536     sary for this term          memory that transmit
                                bytes to communications                                  data"
                                medium over a transmit
                                datapath corresponding to
                                each data station"
                                Structure:
                                "'395 patent at 154 in
                                Fig. 7"
-----------------------------------------------------------------------------------------------------------------------
transmit memory                 subject to Dell's proposed   construction is not neces-  "a shared (i.e., single)
('395, patent claims 1, 4,      construction of transmits    ary for this term           memory that transmits
100)                            memory device, construc-     data"
                                tion is not necessary for
                                this term
-----------------------------------------------------------------------------------------------------------------------
receive memory                  subject to Dell's proposed   construction is not neces-  "a shared (i.e., single)
('395 patent claims 1, 14,      construction of receive      sary for this term           memory that receives
100)                            memory device, construc-     data"
                                tion is not necessary for
                                this term.
-----------------------------------------------------------------------------------------------------------------------


(1) receive datapath/transmit datapath
Claim 1 recites similar corresponding language for the transmit datapath; this language appears to have been added by the patentee during prosecution of U.S. Patent 5,566,169 ("the '169 patent"; parent of the '395 patent) to clarify how the datapath is coupled to the other elements in the claim. Dell is seeking to limit "communication medium" to "physical layer interface of the network." The court finds inadequate support in the patent to support such a limitation.
As such, the court defines "receive datapath" as "path of received data."
The court defines "transmit datapath" as "path of transmitted data."

(2) receive memory device/transmit memory device
Dell and N-Data agree that "receive memory device" and "receive memory" should be construed identically. Similarly, the parties agree that "transmit memory device" and "transmit memory" *988 also share a construction. National asserts that the terms need no construction.
Claim 14 of the '395 patent recites "a receive memory device and a transmit memory device." '395 Patent, cl. 14. The claim further recites, "a plurality of receive datapaths for providing at least some data received over said media to said receive memory device." Id. (emphasis added). Claim 1 recites similar language. Id. at cl. 1. Looking to the prosecution history of the '169 patent, the patentee argued that the present invention is distinguished from ring-based topologies such as that described in the Hamada reference because, "[i]n the present invention ... the purpose of the receive datapath is to combine the multiple data lines in order to fill a single buffer." N-Data's Opening Brief Ex. C at 10. In the Hamada reference, the memory was repeated in each node of the ring, unlike in the present invention. As such, it is clear that the patentee clearly distinguished the present invention over the Hamada reference.
In light of the prosecution history, the court adopts N-Data's proposed construction for "receive memory device," transmit memory device, "transmit memory," and "receive memory."

(3) receive memory means/transmit memory means
The parties dispute whether the court should construe the above terms under 35 U.S.C. § 112, ¶ 6 as a means-plus-function term. N-Data argues that the terms should not as there is no function recited. Dell argues in the alternative, pointing to a specific citation in the specification reciting the function of "receive memory means." Both parties cite case law for their respective propositions.
The applicable portion of claim 1 of the '395 patent states as follows:
1. In a data communication network... which outputs a plurality of control signals, apparatus comprising:
a receive memory means and a transmit memory means;
a receive datapath corresponding ... to said receive memory means; .... (emphasis added)
In determining whether to apply the statutory procedures of section 112, ¶ 6, the use of the word "means" triggers a presumption that the inventor used this term to invoke the statutory mandates for means-plus-function clauses. 35 U.S.C. § 112, ¶ 6; see Greenberg v. Ethicon Endo-Surgery, Inc., 91 F.3d 1580, 1584 (Fed.Cir.1996). "Nonetheless, mere incantation of the word `means' in a clause reciting predominantly structure cannot evoke section 112, ¶ 6." York Prods., Inc. v. Central Tractor Farm &amp; Family Center, 99 F.3d 1568, 1574 (Fed.Cir.1996).
The first step for the court is to identify the recited function. See Micro Chem., Inc. v. Great Plains Chem. Co., 194 F.3d 1250 1258 (Fed.Cir.1999). Here, the claim language does not link the term "means" to a function; in fact the claim language omits "for" and simply ends. Furthermore, the function that Dell cites to is not located in the claim. Without a "means" sufficiently connected to a recited function, the presumption in use of the word "means" does not operate, and the court will not construe the term as a means-plus-function term.

b. Group D2: Controllable/Selective Transmission to the Receive Buffer Selectively transmitting/controllably provides

*989
-------------------------------------------------------------------------------------------------------------------------
                                  Dell's Proposed             National's Proposed                N-Data's Proposed
    Term or Phrase                 Construction                  Construction                      Construction
---------------------------------------------------------------------------------------------------------------------------
controllably provides the     transfers data produced        construction is not neces-      plain and ordinary mean-
data output by the deseri-    by the deserializer to the     sary for this term.             ing in light of other construed
alizer to the receive         receive memory [device] in                                     terms "controllably
memory                        a manner restricted such                                       provides," "deserializer,"
('395 patent claim 14)        that it is guaranteed that                                     and "receive memory" if
                              the write data is stored in                                    the court determines that
                              the latch and not overwrit-                                    construction is needed:
                              ten for a minimum of at                                        "controllably providing
                              least 16 clock cycles                                          "data from each receive
                                                                                             memory depending on
                                                                                             control signals from the
                                                                                             processor"
---------------------------------------------------------------------------------------------------------------------------
means for selectively         Function:                      Function:                       Function:
transmitting, in response     "selectively transmitting,     "selectively transmitting,      "selectively transmitting,
to one of said plurality of   in response to one of said     in response to one of said      in response to one of said
control signals, said data    plurality of control signals,  plurality of control signals,   plurality of control signals,
output by said deserializ-    said data output by said       said data output by said        said data output by said
er to said receive memory     deserializer to said receive   deserializer to said receive    deserializer to said receive
means;                        memory means                   "memory means                   "memory means"
('395 patent claim 1)         Structure:                     Structure:                      Structure:
                              "combination of 1314 and       "RX-Latchl-16 (Fig. 13,         "latch 1314 and/or tri-state
                              1316 of Fig. 13 of the '395    Element 1314)                   "structure 1316 in Fig. 13"
                              patent"
---------------------------------------------------------------------------------------------------------------------------
latch                         "a dedicated circuit (differ-  construction is not neces-      "an electronic circuit used
('395 patent claim 14)        ent from a FIFO) for tem-      sary for this term              to store information"
                              porary storage wherein the
                              inputs and outputs (both of
                              which can be 0 or 1) are
                              controlled by a timing signal
                              and the outputs retain
                              their value until the timing
                              signal is modified"
---------------------------------------------------------------------------------------------------------------------------


(1) controllably provides said data by said desearializer to said receive memory device
For construction of this phrase, Dell is seeking to import limitations from the specification. N-Data and National assert that it needs no construction. As for many of the terms already discussed, the claim language adequately provides guidance as to the meaning of the above phrase.
As such, the court declines to construe the phrase "controllably provides said data by said deserializer to said receive memory device." The court rejects, however, Dell's asserted limitations.

(2) means for selectively transmitting
For this phrase, the parties agree that the court should construe it under 35 U.S.C. § 112, ¶ 6. The claim language at issue states, "means for selectively transmitting, in response to one of said plurality of control signals, said data output by said deserializer to said receive memory means[.]" '395 Patent, cl. 1. Both parties agree as to its function but disagree as to its structure. N-Data asserts that latch 1314 and/or tristate buffer 1316 is the structure necessary to perform the recited function, while Dell asserts that the structure is a combination of latch 1314 and tristate buffer 1316.
Dell points to Figure 13 for support of its dual structure. Figure 13 clearly indicates, as Dell suggests, that data flows through the deserializer 1312, through the latch 1314, and then through the tristate buffer 1316, to the receive *990 memory means. In construing means-plus-function terms, however, the court is instructed that the corresponding structure includes only that which is "necessary to perform the claim function." Micro Chem., Inc., 194 F.3d at 1258. The analysis in Micro Chemical only supports N-Data to the extent that "[a] means-plus-function claim encompasses all structure in the specification corresponding to that element and equivalent structures." Id. at 1258. In Micro Chemical, the Federal Circuit pointed to a number of alternative embodiments disclosed in the patent for support of its broadened construction. To the contrary, in this case, there is no reference in the '395 patent that indicates that "selectively transmitting" can be done with either the latch 1314 or the tristate buffer 1316 alone. The specification makes clear that "tri-state 1316 provides the function of all sixteen ports being able to write to the RX buffer one at a time." '395 Patent, col. 14, ll. 1-2. While the court must walk a fine line in limiting terms, the court agrees with Dell's argument in the present instance that the function of "selectively transmitting" must be performed by both the latch 1314 and the tristate buffer 1316. The claims and specifications, when read as a whole, provide support for Dell's construction.
As such, the court adopts Dell's construction.

(3) latch
The court agrees with N-Data's construction of the term "latch." The court cannot find any support for the limitations imposed by Dell. Furthermore, the specification indicates that the patentee uses "buffer" and "latch" interchangeably in certain instances. Such use confirms the court's decision not to limit the term as Dell suggests.

5. Specific Terminology for '820 Patent

a. Group E1

-----------------------------------------------------------------------------------------------------------------------
                                     Dell's Proposed              National's Proposed           N-Data's Proposed
    Term or Phrase                    Construction                   Construction                 Construction
-----------------------------------------------------------------------------------------------------------------------
framing information            "packetizes data with des-     construction is not neces-    "packaging information"
('820, patent claims 30, 34)   tion and protocol infor-       sary for this term
                               matioon for transmission of
                               data from one network
                               node to another"
-----------------------------------------------------------------------------------------------------------------------
framing network                "packetizes data with des-     subject to National's pro-    "packaging information for
information                    tination and protocol infor-   posed construction of net     transfer over a network"
                               mation for transmission of     work, construction is not
                               data from one network          necessary for this term
                               node to another"
-----------------------------------------------------------------------------------------------------------------------
deframing information          "unpacketizes data from        construction is not neces-    "depackaging information"
('820 patent claim 30)          destination and protocol in-  sary for this term
                                formation upon receiving
                                data from a network node"
-----------------------------------------------------------------------------------------------------------------------
framed information              see framing network           construction is not neces-    "packaged information"
('820 patent claim 34)          information                   sary for this term
-----------------------------------------------------------------------------------------------------------------------
protocol                        "a formal set of conven-      "a formal set of conven-      plain and ordinary mean-
('820, patent claims 1, 30,     tions governing the format    tions governing the format    ing; if the court deter-
34, 47,48, 49, 50, 51, 58, 59,  and relative timing of mes-   and relative timing of mes-   mines that construction is
61, 62)                         sage exchange between         sage exchange between         needed: "a formal set of
                                two nodes"                    two communications            conventions governing the
                                                              terminals"                    format of message


*991
----------------------------------------------------------------------------------------------------------------------------
                                 Dell's Proposed           National's Proposed         N-Data's Proposed
    Term or Phrase                Construction                  Construction              Construction
-----------------------------------------------------------------------------------------------------------------------
                                                                                       exchange between two
                                                                                            communications circuits
-----------------------------------------------------------------------------------------------------------------------
first protocol packet           "a single circuit that only   subject to National's pro-    "circuitry that packages
framer circuit                  frames (packetizes data       posed constructions of pro-   data in a packet by includ-
('820 patent claim 34)          with destination and proto-   tocol and packet, construc-   ing overhead data to pro-
                                col information for trans-    tion is not necessary for     cess/route the data accord-
                                mission of data from one      this term                     ing to a first protocol"
                                network node to another)
                                network data for transmit-
                                ting data between nodes
                                over the network according
                                to a specific protocol (set
                                of rules for transmitting
                                and receiving packets of
                                network data between
                                nodes)"
-----------------------------------------------------------------------------------------------------------------------
second protocol packet          "a single circuit that only   subject to National's pro-    "circuitry that packages
framer circuit                  frames (packetizes data       posed constructions of pro-   data in a packet by includ-
('820 patent claim 34)          with destination and proto-   tocol and packet, construe-   ing overhead data to pro-
                                col information for trans-    tion is not necessary for     cess/route the data accord-
                                mission of data from one      this term                     ing to a second protocol"
                                network node to another)
                                network data for transmit-
                                ting data between nodes
                                over the network according
                                to a specific protocol that
                                is different than the proto-
                                col used by the first proto-
                                col packet deframer
                                circuit"
-----------------------------------------------------------------------------------------------------------------------
a second protocol packet        "a single circuit that only   subject to National's pro-    "circuitry that depackages
deframer circuit                deframes [unpacketizes       posed constructions of pro-    data that has been pack-
('820 patent claim 30)          data from destination and    tocol and packet, construe-    aged into a packet accord-
                                protocol information] net-   tion is not necessary for      ing to a second protocol"
                                work data upon receiving     this term
                                data from a network node
                                according to a specific pro-
                                tocol that is different than
                                the protocol used by the
                                first protocol packet
                                deframer circuit"
-----------------------------------------------------------------------------------------------------------------------
a first protocol packet         "a single circuit that       subject to National's pro-     "circuitry that packages
framer/deframer circuit         both frames [packetizes      posed constructions of pro-    data in a packet by includ-
('820 patent claim 1)           data with destination and    tocol and packet, construc-    ing overhead data to
                                protocol information for     tion is not necessary for      process/route the data
                                transmission of data         this term                      according to a first proto-
                                from one network node                                       col (framer) or depackages
                                to another] and deframes                                    data that has been pack-
                                [unpacketizes data from                                     aged into a packet accord-
                                destination and protocol                                    ing to the first protocol
                                information] network data                                   (deframer)"
                                for transmitting and re-
                                ceiving data between
                                nodes over the network
                                according to a specific
                                protocol [set of rules for
                                governing the format of
                                data transfer]"
-----------------------------------------------------------------------------------------------------------------------
a second protocol packet        "a single circuit (different subject to National's pro-     "circuitry that packages
framer/deframer circuit         than the first) that both    posed constructions of pro-    data in a packet by includ-
('820 patent claim 1)           frames and deframes net-     tocol and packet, construc-    ing overhead data to pro-
                                work data for transmitting   tion is not necessary for      cess/route the data accord-
                                and receiving data between   this term                      ing to a second protocol
                                nodes over the network ac-                                  (framer) or depackages
                                cording to a specific proto-                                data that has been pack-
                                col that is different than                                  aged into a packet accord-
                                the protocol used by the                                    ing to the second protocol


*992
----------------------------------------------------------------------------------------------------------------------------
                                 Dell's Proposed           National's Proposed         N-Data's Proposed
    Term or Phrase                Construction                  Construction              Construction
-----------------------------------------------------------------------------------------------------------------------
                                first protocol packet                                       (deframer)"
                                framer/deframer circuit
-----------------------------------------------------------------------------------------------------------------------
first protocol circuit         "a first protocol packet      subject to National's pro-     "circuitry that packages
('820, patent claims 47, 48,   framer/deframer circuit"      posed construction of pro-     data according to a first
49, 50, 51, 58, 59, 61, 62)                                  tocol, construction is not     protocol"
                                                             necessary for this term
-----------------------------------------------------------------------------------------------------------------------
second protocol circuit        "a second protocol packet     subject to National's pro-     "circuitry that packages
('820, patent claim 47, 58)    framer/deframer circuit"      posed construction of pro-     data according to a second
                                                             tocol, construction is not     protocol"
                                                             necessary for this term
-----------------------------------------------------------------------------------------------------------------------
deframing information of        "unpacletozomg data from     "subject to Nation's pro-      plain and ordinary mean-
an isochronous slot             the destination and proto-   posed construction of         ing in light of other con-
('820 patent claim 30)          col information on another   isochronous, construction     strued terms "deframing
                                slot on another frame        is not necessary for this     information, "isochronous
                                wherein the slot is differ-  term"                         data," issochronous data
                                ent from that described "as                                 source," and "slot" if the
                                an isochronous slot" and is                                 court determines that con-
                                reserved for and carries a                                  struction is needed: "de-
                                small amount of "non-                                       packaging is information of
                                bursty" [isochronous]                                       an isochronous portion of a
                                information"                                                frame"
-----------------------------------------------------------------------------------------------------------------------
deframing information of        "unpacketizing data from     subject ot National's pro-    plain and ordinary mean-
another isochronous slot        the destination and proto-   posed construction of         ing in light of other con-
('820 patent claim 30)          col information on another   isochronous, construction     strued terms "deframing
                                slot on another frame        is not necessary for this     information," "isochro-
                                wherein the slot is differ-  term                          nous," "slot," "deframing
                                ent from that described "as                                 information of an isochro-
                                an isochronous slot" and is                                 nous slot" if the court de-
                                reserved for and carries a                                  termines that construction
                                small amount of "non-                                       is needed: "depackaging
                                bursty" [isochronous                                        information of another
                                information"                                                isochronous portion of a
                                                                                            frame"
-----------------------------------------------------------------------------------------------------------------------


(1) framing information, framing network information, deframing information, and framed information
For these terms, N-Data proposes a construction which generally equate "framing" with "packaging." Dell gives "framing information" and "framing network information" the same construction and seeks to limit the terms to "packetize[ing] data with destination and protocol information for transmission of data from one network node to another." In construing the terms together, Dell argues that claim 30 provides an antecedent basis for claim 34.
The court agrees with N-Data's argument. The '820 patent includes numerous examples in which the patentee equates "framing" with "packaging." See '820 Patent, col. 2, ll. 31-37; col. 3, ll. 8-16; col. 6, ll. 15-20. Furthermore, the court is not persuaded that "framing information" and "framing network information" should be given the same construction.
As such, the court adopts N-Data's proposed constructions of the above terms.

(2) protocol
The two remaining issues related to the construction of this term are (1) whether "protocol" should require "relative timing" as a part of the formal set of conventions, and (2) whether the message exchange controlled by a protocol is between "nodes" or "communications circuits."
*993 Dell and National's imposition of "relative timing" into the definition overlooks the context in which the term is used within the patent. The term "protocol" is used to describe the format by which packets are framed/deframed in both the claims and specification. Nowhere in the patent is there a discussion of the "relative timing" requirements between the communications terminals.
In light of the previous construction of "node," the court adopts N-Data's proposed construction.

(3) first/second protocol packet framer circuit, a first/second protocol packet deframer circuit, and a first/second protocol packet framer/deframer circuit
In light of the already construed terms "protocol," "framing information," and "packet," the court defines the above phrases as follows:
The court defines "first protocol packet framer circuit" as "circuitry that packages information in a packet according to a first protocol" and "second protocol packet framer circuit" as "circuitry that packages information in a packet according to a second protocol."
The court defines "a first protocol packet deframer circuit" as "circuitry that depackages information that has been packaged as a packet according to a first protocol" and "a second protocol packet deframer circuit" as "circuitry that depackages information that has been packaged as a packet according to a second protocol."
Regarding the final phrase, the specification clearly suggests that the use of the slash in "framer/deframer" is meant to mean "or." The specification states, "[a]lthough a `framer/deframer' circuit does not really `frame' or `deframe' information but rather `packetizes' or `depacketizes' information...." '820 Patent, col. 6, ll. 28-30.
Accordingly, in light of the above constructions, the court defines the phrases as follows:
The court construes "a first protocol packet framer/deframer circuit" as "circuitry that packages information in a packet according to a first protocol (framer) or depackages information that has been packaged as a packet according to a first protocol (deframer)."
The court construes "a second protocol packet framer/deframer circuit" as "circuitry that packages information in a packet according to a second protocol (framer) or depackages information that has been packaged as a packet according to a second protocol (deframer)."

(4) first protocol circuit and second protocol circuit
For these terms, Dell seeks to import the phrase "framer/deframer" into its construction. Although the patent specification may not expressly discuss the above terms, it does contemplate "unframed data" and "nonframed data" in the context of "protocol circuits," contrary to Dell's suggestion. See '820 Patent, col. 7, l. 57-col. 8, l. 5; cl. 51.
As such, the court adopts N-Data's construction.

(5) deframing information of an isochronous slot and deframing information of another isochronous slot
The court gives the above phrase its plain and ordinary meaning in light of previously construed terms.


*994 b. Group E2: Management of Data Transfers

-----------------------------------------------------------------------------------------------------------------------------
                              Dell's Proposed               National's Proposed        N-Data's Proposed
    Term or Phrase             Construction                   Construction               Construction
------------------------------------------------------------------------------------------------------------------------------
manage                        see manages raw data          construction is not nece-       "keep track of and use
('820 patent claim 48)                                      sary for this term    information necessary to
                                                                                       transfer data"
--------------------------------------------------------------------------------------------------------------------------------
manages raw data              "directs unframed data        Construction is not nece-       plain and ordinary mean-
('820, patent claims 48, 59)   within the protocol circuit  sary for this term           ing in light of other con-
                              (framer/deframer circuit)"                                   strued terms "manage"
                                                                                            and "raw data" if the court
                                                                                            determines that construc-
                                                                                            tion is needed: "keeps
                                                                                            track of and uses informa-
                                                                                            tion necessary to transfer
                                                                                            unframed data"
---------------------------------------------------------------------------------------------------------------------------------
manages nondeframed           "directs framed data with-      construction is not neces-       plain and ordinary mean-
data                           in the protocol circuit         sary for this term           ing in light of other con-
('820, patent claims 50, 61)   (framer/deframer circuit)"                               strued terms "manage"
                                                                                            and "nondeframed data" if
                                                                                            the court determines that
                                                                                            construction is needed:
                                                                                            "keeps track of and uses
                                                                                            information necessary to
                                                                                            transfer data that has been
                                                                                            packaged, but not depack-
                                                                                            aged"
------------------------------------------------------------------------------------------------------------------------------
manages unframed data         "directs unframed data        construction is not neces-       "keeps track of and uses
('820 patent claim 49)        within the protocol circuit   sary for this term           information necessary to
                              (framer/deframer circuit)"                                   transfer unpackaged data"
--------------------------------------------------------------------------------------------------------------------------------
constant bit rate             "circuit used to monitor        construction is not neces-     "circuitry used to maintain
buffer circuit                 and control transmission        sary for this term           a substantially constant bit
('820, patent claim 51, 62)    and receipt of raw un-                                       rate during transfers, such
                               framed or nondeframed                                        as by tracking stream
                               streams of data"                                             transfer information rather
                                                                                            than only by tracking the
                                                                                            beginning and ending of
                                                                                            packets"
------------------------------------------------------------------------------------------------------------------------------
buffer memory                 "buffer"                      construction is not neces-       plain and ordinary mean-
('820 patent claim 58)                                      sary for this term           ing; if the court deter-
                                                                                            mines that construction is
                                                                                            needed: "temporary stor-
                                                                                            age memory"
--------------------------------------------------------------------------------------------------------------------------------


(1) manage, manages raw data, manages non-deframed data, and manages unframed data
The parties agree on the definition of "raw data" as "unframed data." Accordingly, the only terms necessitating construction are "manage" and "non-deframed." N-Data's construction comes directly from the specification. See '820 Patent, col. 7, ll. 57-63. Dell cites to an extrinsic source for its definition. There is no intrinsic support for Dell's definition.
As such, the court adopts N-Data's proposed construction for "manage."
*995 Accordingly, the court adopts N-Data's proposed construction for "manages raw data."
Regarding the remaining terms, as indicated above, the patents are replete with suggestions that "framing" is akin to "packaging." See, e.g., '820 Patent, col. 2, ll. 31-37; col. 3, ll. 8-16; col. 6, ll. 15-20. Additionally, "non deframed" is logically the same as "framed data."
For these reasons, the court defines "manages non deframed data" as follows: "keeps track of and uses information necessary to transfer data that has been packaged."
The court adopts N-Data's construction of "manages unframed data."

IV. Conclusion
The court adopts the above definitions for those terms in need of construction. The parties are ordered that they may not refer, directly or indirectly, to each other's claim construction positions in the presence of the jury. Likewise, the parties are ordered to refrain from mentioning any portion of this opinion, other than the actual definitions adopted by the court, in the presence of the jury. Any reference to claim construction proceedings is limited to informing the jury of the definitions adopted by the court.
NOTES
[1]  Defendants also seek to include "physical" in its proposed construction of "link" and "data link." The court finds no support in the specification for such limitation.
[2]  Dell and National rely on a technical dictionary definition of "packet" published seven years after the '261 patent was filed. See MICROSOFT COMPUTER DICTIONARY FOURTH EDITION 327 (Christey Bahn, ed., Microsoft Press 1999).
[3]  Dell and National begin with "isochronous data," and N-Data begins with "isochronous data source." Each of the parties asserts that the specification expressly defines their respective terms. See '261 Patent, col. 1 ll. 23-27.
[4]  N-Data defines all of the "multiplex" terms essentially the same, while Dell provides varying constructions. The court will address the terms as grouped by Dell's varying arguments.

